                                                                             APPEAL,ATTYOPEN,RF
                            United States District Court
                     Eastern District of Wisconsin (Milwaukee)
                 CIVIL DOCKET FOR CASE #: 2:20−cv−01785−BHL

Trump v. The Wisconsin Elections Commission et al            Date Filed: 12/02/2020
Assigned to: Judge Brett Ludwig                              Jury Demand: None
Cause: 42:1983 Civil Rights Act                              Nature of Suit: 440 Civil Rights: Other
                                                             Jurisdiction: Federal Question

                                                             Settlement Conference:
Plaintiff
Donald J Trump                                represented by James A Knauer
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V.
Defendant
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Defendant
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Defendant
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Defendant
Claire Woodall−Vogg                         represented by Elleny B Christopoulos
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Defendant
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Mayor Cory Mason                     represented by Daniel Bach
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Defendant
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Defendant
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      Case 2:20-cv-01785-BHL Filed 12/14/20 Page 10 of 67 Document 140
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Defendant
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Intervenor Defendant
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Intervenor Defendant

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                                                Mark M Leitner
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                                                Ryan Snow
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Intervenor Defendant
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                                                ATTORNEY TO BE NOTICED

                                                Allison E Laffey
     Case 2:20-cv-01785-BHL Filed 12/14/20 Page 16 of 67 Document 140
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Ezra D Rosenberg
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                John W Halpin
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Jon Greenbaum
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Joseph S Goode
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Mark M Leitner
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Ryan Snow
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

Intervenor Defendant
Earnestine Moss                     represented by Jacob Conarck
                                                   (See above for address)
                                                   LEAD ATTORNEY
                                                   ATTORNEY TO BE NOTICED

                                                Ajay Saini
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Allison E Laffey
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Ezra D Rosenberg
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                John W Halpin
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED

                                                Jon Greenbaum
                                                (See above for address)
                                                ATTORNEY TO BE NOTICED
     Case 2:20-cv-01785-BHL Filed 12/14/20 Page 17 of 67 Document 140
                                                  Joseph S Goode
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Kristen Clarke
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Mark M Leitner
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

                                                  Ryan Snow
                                                  (See above for address)
                                                  ATTORNEY TO BE NOTICED

Intervenor Defendant
Democratic National Committee       represented by Charles G Curtis , Jr
                                                   Perkins Coie LLP
                                                   33 E Main St − Ste 201
                                                   Madison, WI 53703
                                                   608−663−5411
                                                   Fax: 608−663−7499
                                                   Email: ccurtis@perkinscoie.com
                                                   ATTORNEY TO BE NOTICED

                                                  Christopher Bouchoux
                                                  Wilmer Cutler Pickering Hale and Dorr
                                                  LLP
                                                  7 World Trade Center
                                                  New York, NY 10007
                                                  212−230−8823
                                                  Email: christopher.bouchoux@wilmerhale.com
                                                  ATTORNEY TO BE NOTICED

                                                  David S Lesser
                                                  Wilmer Cutler Pickering Hale and Dorr
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                                                  7 World Trade Center
                                                  New York, NY 10007
                                                  212−230−8851
                                                  Email: david.lesser@wilmerhale.com
                                                  ATTORNEY TO BE NOTICED

                                                  Jamie Dycus
                                                  Wilmer Cutler Pickering Hale and Dorr
                                                  LLP
                                                  7 World Trade Center
                                                  New York, NY 10007
                                                  212−937−7236
                                                  Email: jamie.dycus@wilmerhale.com
     Case 2:20-cv-01785-BHL Filed 12/14/20 Page 18 of 67 Document 140
                                          ATTORNEY TO BE NOTICED

                                          John Devaney
                                          Perkins Coie LLP
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                                          Washington, DC 20005
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                                          Email: jdevaney@perkinscoie.com
                                          ATTORNEY TO BE NOTICED

                                          Marc E Elias
                                          Perkins Coie LLP
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                                          Washington, DC 20005
                                          202−654−6200
                                          ATTORNEY TO BE NOTICED

                                          Matthew W O'Neill
                                          Fox O'Neill & Shannon SC
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                                          Milwaukee, WI 53202
                                          414−273−3939
                                          Fax: 414−273−3947
                                          Email: mwoneill@foslaw.com
                                          ATTORNEY TO BE NOTICED

                                          Michelle M Umberger
                                          Perkins Coie LLP
                                          33 E Main St − Ste 201
                                          Madison, WI 53703
                                          608−663−7460
                                          Fax: 608−663−7499
                                          Email: MUmberger@perkinscoie.com
                                          ATTORNEY TO BE NOTICED

                                          Seth P Waxman
                                          Wilmer Cutler Pickering Hale and Dorr
                                          LLP
                                          1875 Pennsylvania Ave NW
                                          Washington, DC 20006
                                          202−663−6800
                                          Fax: 202−663−6363
                                          Email: seth.waxman@wilmerhale.com
                                          ATTORNEY TO BE NOTICED

                                          Sopen B Shah
                                          Perkins Coie LLP
                                          33 E Main St − Ste 201
                                          Madison, WI 53703
                                          608−663−7460
                                          Fax: 608−663−7460
                                          Email: SShah@perkinscoie.com

Case 2:20-cv-01785-BHL Filed 12/14/20 Page 19 of 67 Document 140
                                                   ATTORNEY TO BE NOTICED

                                                   Will McDonell Conley
                                                   Perkins Coie LLP
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                                                   Madison, WI 53703
                                                   608−663−7460
                                                   Fax: 608−663−7499
                                                   Email: WConley@perkinscoie.com
                                                   ATTORNEY TO BE NOTICED

                                                   Zachary J Newkirk
                                                   Perkins Coie LLP
                                                   700 13th St NW − Ste 800
                                                   Washington, DC 20005
                                                   202−654−6200
                                                   ATTORNEY TO BE NOTICED

Amicus
Christine Todd Whitman et al Amici   represented by Nancy A Temple
Group                                               Katten & Temple LLP
                                                    209 S LaSalle St − Ste 950
                                                    Chicago, IL 60604
                                                    312−663−0800
                                                    Fax: 312−663−0900
                                                    Email: ntemple@kattentemple.com
                                                    ATTORNEY TO BE NOTICED

                                                   Richard D Bernstein
                                                   202−303−1000
                                                   ATTORNEY TO BE NOTICED

Amicus
Center for Tech and Civic Life       represented by Harmann Singh
                                                    Kaplan Hecker & Fink LLP
                                                    350 5th Ave − Ste 7110
                                                    New York, NY 10118
                                                    212−763−0883
                                                    Email: hsingh@kaplanhecker.com
                                                    ATTORNEY TO BE NOTICED

                                                   Joshua A Matz
                                                   Kaplan Hecker & Fink LLP
                                                   350 5th Ave − Ste 7110
                                                   New York, NY 10118
                                                   929−294−2537
                                                   Fax: 212−564−0883
                                                   Email: jmatz@kaplanhecker.com
                                                   ATTORNEY TO BE NOTICED

                                                   Kendall W Harrison

     Case 2:20-cv-01785-BHL Filed 12/14/20 Page 20 of 67 Document 140
                                                          Godfrey & Kahn SC
                                                          1 E Main St − Ste 500
                                                          PO Box 2719
                                                          Madison, WI 53701−2719
                                                          608−257−3911
                                                          Fax: 608−257−0609
                                                          Email: kharrison@gklaw.com
                                                          ATTORNEY TO BE NOTICED

                                                          Maxted M Lenz
                                                          Godfrey & Kahn SC
                                                          1 E Main St − Ste 500
                                                          PO Box 2719
                                                          Madison, WI 53701−2719
                                                          608−257−3911
                                                          Fax: 608−257−0609
                                                          Email: mlenz@gklaw.com
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                                                          Mike B Wittenwyler
                                                          Godfrey & Kahn SC
                                                          1 E Main St − Ste 500
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                                                          Madison, WI 53701−2719
                                                          608−284−2616
                                                          Email: wittenwyler@gklaw.com
                                                          ATTORNEY TO BE NOTICED


Date Filed   #   Page Docket Text
12/02/2020   1        COMPLAINT For Expedited Declaratory and Injunctive Relief Pursuant to
                      Article II of the United States Constitution against All Defendants filed by
                      Donald J Trump; EXHIBITS filed at 12 ( Filing Fee PAID $402 receipt
                      number AWIEDC−3655237)(Bock, William) (Additional attachment(s) added
                      on 12/3/2020: # 1 Civil Cover Sheet) (cmb)
12/02/2020   2        INCORRECT Document Attached − to be re−filed DISCLOSURE Statement
                      by Donald J Trump. (Bock, William) Modified on 12/3/2020 (vkb)
12/02/2020   3        NOTICE of Appearance by William Bock, III on behalf of Donald J Trump.
                      Attorney(s) appearing: William Bock, III (Bock, William)
12/02/2020   4        NOTICE of Appearance by Kevin D Koons on behalf of Donald J Trump.
                      Attorney(s) appearing: Kevin D. Koons (Koons, Kevin)
12/02/2020   5        NOTICE of Appearance by James A Knauer on behalf of Donald J Trump.
                      Attorney(s) appearing: James A. Knauer (Knauer, James)
12/02/2020   6        MOTION for Preliminary Injunction For Expedited Declaratory and
                      Injunctive Relief Pursuant to Article II of the United States Constitution and
                      MOTION for Expedited Hearing filed by Donald J Trump. (Attachments: # 1
                      Text of Proposed Order)(Bock, William). Added MOTION for Hearing on
                      12/3/2020 (vkb)

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12/02/2020   7      CERTIFICATE by Donald J Trump Local Rule 7(A)(2) Certification (Bock,
                    William)
12/02/2020          NOTICE Regarding assignment of this matter to Judge Brett Ludwig;
                    Consent/refusal forms for Magistrate Judge Duffin to be filed within 21 days;
                    the consent/refusal form is available here. Pursuant to Civil Local Rule 7.1 a
                    disclosure statement is to be filed upon the first filing of any paper and should
                    be filed now if not already filed. (cmb) (Entered: 12/03/2020)
12/03/2020   8      NOTICE by Tony Evers of Related Case and Request for Assignment in
                    Concert with that Related Case (Mandell, Jeffrey)
12/03/2020    9     REQUEST for Issuance of Summons by Donald J Trump (Attachments: # 1
                    Summons Woodall−Vogg, # 2 Summons Knudson, # 3 Summons La Follette,
                    # 4 Summons Christenson, # 5 Summons Owczarski, # 6 Summons Henry, # 7
                    Summons Teske, # 8 Summons Bostelman, # 9 Summons Witzel−Behl, # 10
                    Summons Thomsen, # 11 Summons Krauter, # 12 Summons Mason, # 13
                    Summons Genrich, # 14 Summons Antaramian, # 15 Summons
                    Rhodes−Conway, # 16 Summons Barrett, # 17 Summons Spindell, # 18
                    Summons McDonell, # 19 Summons Coolidge, # 20 Summons Evers)(Bock,
                    William)
12/03/2020   10     NOTICE of Appearance by Jeffrey A Mandell on behalf of Tony Evers.
                    Attorney(s) appearing: Jeffrey A. Mandell (Mandell, Jeffrey)
12/03/2020   11     NOTICE of Appearance by Rachel E Snyder on behalf of Tony Evers.
                    Attorney(s) appearing: Rachel E. Snyder (Snyder, Rachel)
12/03/2020   12     ATTACHMENTS Appendix of Exhibits to Plaintiff's Complaint ' by Donald J
                    Trump re 1 Complaint,. (Attachments: # 1 Exhibit 1 − Wisconsin Public Radio
                    11.6.20, # 2 Exhibit 2 − Guidance for Indefinitely Confined Electors, # 3
                    Exhibit 3 − Dane County Clerk Facebook Post, # 4 Exhibit 4 − Milwaukee
                    Sentinel Journal 3.25.20, # 5 Exhibit 5 − Rep.Steineke and Sen. Roth editorial
                    4.20−.20, # 6 Exhibit 6 − Washington Examiner 11.10.20, # 7 Exhibit 7 −
                    Building Confidence in U.S. Elections−Report of Comm. on Fed.Election
                    Reform, # 8 Exhibit 8 − Fed.Prosecution of Election Offenses 2017, # 9
                    Exhibit 9 − Voting Fraud is a Real Concern − Newsweek, # 10 Exhibit 10 −
                    As More Vote by Mail, Faulty Ballots Could Impact Elections − The New
                    York Time, # 11 Exhibit 11 − Real Clear Politics Top Battlegrounds Page, #
                    12 Exhibit 12 − Approved Wisconsin State Voting Plan 2020, # 13 Exhibit 13
                    − WEC Drop Box Guidance 8.19.20, # 14 Exhibit 14 − Absentee Ballot Drop
                    Box Info − WI Elections Commissions, # 15 Exhibit 15 − CISA Ballot Drop
                    Box Page, # 16 Exhibit 16 − Wisconsin Center for Investigative Journalism
                    10.29.20, # 17 Exhibit 17 − Wisconsin Watch − Search for a ballot drop box in
                    your community 10.27.20, # 18 Exhibit 18 − WEC Drop Box List, # 19
                    Exhibit 19 − Drop Box Info − Hayward WI, # 20 Exhibit 20 − Drop Box Info
                    − City of Menasha Library Drop Box, # 21 Exhibit 21 − Drop Box Info − City
                    of Vermont − Dane County, # 22 Exhibit 22 − Drop Box Info − Village of
                    DeForest − Dane County, # 23 Exhibit 23 − Drop Box Info − Village of Boyd,
                    # 24 Exhibit 24 − Milwaukee Journal Sentinel − Milwaukee gears up for
                    historic election, # 25 Exhibit 25 − Milwaukee Journal Sentinel − Absentee
                    ballot drop boxes replaced, # 26 Exhibit 26 − City of Madison Notice re Drop
                    Boxes 10.16.20, # 27 Exhibit 27 − Drop Box Info − Madison, WI − Elver
                    Park, # 28 Exhibit 28 − CTCL Partners with 5 Wisconsin Cities to Implement
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                    Safe Voting Plan 7.6.20, # 29 Exhibit 29 − Voter Turnout in Madison and
                    Dane Surpass Record, # 30 Exhibit 30 − Green Bay Election, # 31 Exhibit 31
                    − CTCL Announcement of Zuckerberg Donation, # 32 Exhibit 32 − WEC
                    Approves Grants and Mailing for Fall Elections 05−29−20, # 33 Exhibit 33 −
                    Affidavit of Bartholomew R. Williams, # 34 Exhibit 34 − Affidavit of Marie
                    Klobuchar, # 35 Exhibit 35 − Spoiling Absentee Ballot Guidance 10.19.20, #
                    36 Exhibit 36 − WEC Uniform Absentee Instructions − By−Mail Voters, # 37
                    Exhibit 37 − What Poll Watchers Can and Cant Do 10.20.20, # 38 Exhibit 38
                    − Affidavit of Beth A. Brown, # 39 Exhibit 39 − Affidavit of Mary Angelina
                    Horn, # 40 Exhibit 40 − Affidavit of Charles A. Armgardt, # 41 Exhibit 41 −
                    Affidavit of Steven S. Goetz, # 42 Exhibit 42 − Affidavit of Lana Sloane, # 43
                    Exhibit 43 − Affidavit of Kyle Hudson, # 44 Exhibit 44 − Affidavit of Jeremy
                    Bowers)(Bock, William)
12/03/2020   13     LETTER from Jeff Mandell . (Attachments: # 1 Exhibit Filings from
                    20−CV−1771)(Mandell, Jeffrey)
12/03/2020          Summons Issued as to John Antaramian, Tom Barrett, Marge Bostelmann,
                    George L Christenson, Tara Coolidge, Tony Evers, Eric Genrich, Julietta
                    Henry, Ann S Jacobs, Dean Knudson, Matt Krauter, Douglas J La Follette,
                    Cory Mason, Scott McDonell, Jim Owczarski, Satya Rhodes−Conway, Robert
                    F Spindell, Jr, Kris Teske, Mark L Thomsen, Maribeth Witzel−Behl and Claire
                    Woodall−Vogg. (vkb)
12/03/2020   14     NOTICE OF STATUS/SCHEDULING CONFERENCE: The Court will
                    conduct a status/scheduling conference in this matter on 12/04/2020 at 1:00
                    p.m. by telephone. Counsel for the plaintiff is expected to provide notice to
                    opposing counsel for any defendants who have not yet appeared. Counsel for
                    all parties are expected to be ready to discuss a plan for the efficient resolution
                    of the case and plaintiffs pending preliminary injunction motion. To appear by
                    telephone, you must call the Court conference line at 1−866−434−5269, and
                    enter access code 1737450# before the scheduled hearing time. All
                    participants other than lead counsel for each party are asked to keep their
                    phones muted. (cc: all counsel) (MP)
12/03/2020   15     DISCLOSURE Statement by Donald J Trump. (Bock, William)
12/03/2020   16     MOTION to Intervene and MOTION for Leave to File Response to Plaintiff's
                    Motion by Wisconsin State Conference NAACP, Dorothy Harrell, Wendell J.
                    Harris, Sr., Earnestine Moss. (Leitner, Mark). Added MOTION for Leave to
                    File on 12/4/2020 (vkb)
12/03/2020   17     BRIEF in Support filed by Dorothy Harrell, Wendell J. Harris, Sr., Earnestine
                    Moss, Wisconsin State Conference NAACP re 16 MOTION to Intervene and
                    for Leave to File Response to Plaintiff's Motion . (Attachments: # 1 Exhibit 1
                    − Pennsylvania Decision)(Leitner, Mark)
12/03/2020   18     DECLARATION of Dorothy Harrell (Leitner, Mark)
12/03/2020   19     DECLARATION of Wendell J. Harris Sr. (Leitner, Mark)
12/03/2020   20     DECLARATION of Earnestine Moss (Leitner, Mark)
12/03/2020   21     NOTICE of Appearance by Michelle M Umberger on behalf of Democratic
                    National Committee. Attorney(s) appearing: Michelle M. Umberger

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                    (Umberger, Michelle)
12/03/2020   22     NOTICE of Appearance by Charles G Curtis, Jr on behalf of Democratic
                    National Committee. Attorney(s) appearing: Charles G. Curtis (Curtis,
                    Charles)
12/04/2020   23     MOTION to Intervene by Democratic National Committee. (Attachments: # 1
                    Text of Proposed Order)(Umberger, Michelle)
12/04/2020   24     BRIEF in Support filed by Democratic National Committee re 23 MOTION to
                    Intervene . (Umberger, Michelle)
12/04/2020   25     DISCLOSURE Statement by Democratic National Committee. (Umberger,
                    Michelle)
12/04/2020   26     NOTICE of Appearance by Jon Greenbaum on behalf of Dorothy Harrell,
                    Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                    Attorney(s) appearing: Jon Greenbaum (Greenbaum, Jon)
12/04/2020   27     NOTICE of Appearance by Andrew A Jones on behalf of George L
                    Christenson, Julietta Henry. Attorney(s) appearing: Andrew A. Jones (Jones,
                    Andrew)
12/04/2020   28     MOTION to Expedite Discovery by Donald J Trump. (Attachments: # 1
                    Exhibit A − RFP to WEC, # 2 Exhibit B − RFA to WEC, # 3 Exhibit C − RFA
                    to Mayor Tom Barrett, # 4 Text of Proposed Order)(Bock, William)
12/04/2020   29     DISCLOSURE Statement by Dorothy Harrell, Wendell J. Harris, Sr.,
                    Earnestine Moss, Wisconsin State Conference NAACP. (Leitner, Mark)
12/04/2020   30     NOTICE of Appearance by Ezra D Rosenberg on behalf of Dorothy Harrell,
                    Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                    Attorney(s) appearing: Ezra D. Rosenberg (Rosenberg, Ezra)
12/04/2020   31     NOTICE of Appearance by Joseph S Goode on behalf of Dorothy Harrell,
                    Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                    Attorney(s) appearing: Joseph S. Goode (Goode, Joseph)
12/04/2020   32     NOTICE of Appearance by Mark M Leitner on behalf of Dorothy Harrell,
                    Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                    Attorney(s) appearing: Mark M. Leitner (Leitner, Mark)
12/04/2020   33     NOTICE of Appearance by John W Halpin on behalf of Dorothy Harrell,
                    Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                    Attorney(s) appearing: John W. Halpin (Halpin, John)
12/04/2020   34     NOTICE of Appearance by Allison E Laffey on behalf of Dorothy Harrell,
                    Wendell J. Harris, Sr., Earnestine Moss, Wisconsin State Conference NAACP.
                    Attorney(s) appearing: Allison E. Laffey (Laffey, Allison)
12/04/2020   35     NOTICE of Appearance by James M Carroll on behalf of Tom Barrett, Jim
                    Owczarski, Claire Woodall−Vogg. Attorney(s) appearing: Tearman Spencer,
                    Scott Brown, Kathryn Block, James Carroll, Elleny Christopoulos, Patrick
                    McClain, Tyrone St. Junior and Julie P. Wilson (Carroll, James)
12/04/2020   36     NOTICE of Appearance by Justin A Nelson on behalf of Tony Evers.
                    Attorney(s) appearing: Justin A. Nelson (Nelson, Justin)

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12/04/2020   37     NOTICE of Appearance by Davida Brook on behalf of Tony Evers.
                    Attorney(s) appearing: Davida Brook (Brook, Davida)
12/04/2020   38     NOTICE of Appearance by Steven C Kilpatrick on behalf of Marge
                    Bostelmann, Ann S Jacobs, Dean Knudson, Douglas J La Follette, Robert F
                    Spindell, Jr, The Wisconsin Elections Commission, Mark L Thomsen.
                    Attorney(s) appearing: Colin T. Roth; Thomas C. Bellavia; Gabe
                    Johnson−Karp (Kilpatrick, Steven)
12/04/2020   39     NOTICE of Appearance by Stephen Shackelford, Jr on behalf of Tony Evers.
                    Attorney(s) appearing: Stephen L. Shackelford, Jr. (Shackelford, Stephen)
12/04/2020   40     NOTICE of Appearance by Richard Manthe on behalf of Tony Evers.
                    Attorney(s) appearing: Richard A. Manthe (Manthe, Richard)
12/04/2020   41     NOTICE of Appearance by Paul M Smith on behalf of Tony Evers.
                    Attorney(s) appearing: Paul M. Smith (Smith, Paul)
12/04/2020   42     NOTICE of Appearance by James E Bartzen on behalf of Scott McDonell,
                    Satya Rhodes−Conway, Maribeth Witzel−Behl. Attorney(s) appearing: James
                    E. Bartzen (Bartzen, James)
12/04/2020   43     NOTICE of Appearance by Barry J Blonien on behalf of Scott McDonell,
                    Satya Rhodes−Conway, Maribeth Witzel−Behl. Attorney(s) appearing: Barry
                    J. Blonien (Blonien, Barry)
12/04/2020   44     NOTICE of Appearance by Margaret C Daun on behalf of George L
                    Christenson, Julietta Henry. Attorney(s) appearing: Margaret C. Daun (Daun,
                    Margaret)
12/04/2020   45     Court Minutes and Order from Status/Scheduling Conference held 12/4/20
                    before Judge Brett Ludwig. The court GRANTS 28 motion for expedited
                    discovery. Defendants response to plaintiff's request for production and
                    admission by 12/8/20 at 5:00 p.m. Plaintiff's witness lists due 12/6/20 at 12:00
                    p.m. Defendants' witness lists due 12/8 at 5:00 p.m. Defendants response to
                    complaint and preliminary injunction due 12/8/20 at 5:00 p.m. Plaintiff must
                    reply by 12/9/20 at 12:00 p.m. Final Pretrial Conference set for 12/9/2020 at
                    03:00 PM by Telephone. To appear by telephone, you must call the Court
                    conference line at 1−866−434−5269, and enter access code 1737450#.
                    Evidentiary Hearing set for 12/10/2020 at 09:00 AM by Video Conference.
                    (Court Reporter Susan A.) (MP)
12/04/2020   46     ANSWER to 1 Complaint, by Proposed − Intervenor by Democratic National
                    Committee.(Umberger, Michelle)
12/05/2020   47     NOTICE of Appearance by Dixon R Gahnz on behalf of John Antaramian,
                    Tara Coolidge, Eric Genrich, Matt Krauter, Cory Mason, Kris Teske.
                    Attorney(s) appearing: Dixon R. Gahnz (Gahnz, Dixon)
12/05/2020   48     NOTICE of Appearance by Terrence M Polich on behalf of John Antaramian,
                    Tara Coolidge, Eric Genrich, Matt Krauter, Cory Mason, Kris Teske.
                    Attorney(s) appearing: Terrence M. Polich (Polich, Terrence)
12/05/2020   49     NOTICE of Appearance by Daniel S Lenz on behalf of John Antaramian, Tara
                    Coolidge, Eric Genrich, Matt Krauter, Cory Mason, Kris Teske. Attorney(s)
                    appearing: Daniel S. Lenz (Lenz, Daniel)

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12/05/2020   50     NOTICE of Appearance by Daniel Bach on behalf of John Antaramian, Tara
                    Coolidge, Eric Genrich, Matt Krauter, Cory Mason, Kris Teske. Attorney(s)
                    appearing: Daniel P. Bach (Bach, Daniel)
12/06/2020   51     Witness List by Donald J Trump. (Bock, William)
12/07/2020   52     NOTICE of Appearance by Michael P May on behalf of Scott McDonell,
                    Satya Rhodes−Conway, Maribeth Witzel−Behl. Attorney(s) appearing:
                    Michael P. May (May, Michael)
12/07/2020   53     TRANSCRIPT of Status Conference held on December 4, 2020 before Judge
                    Brett H. Ludwig Court Reporter/Transcriber Susan Armbruster, Contact at
                    414−290−2641. Transcripts may be purchased using the Transcript Order
                    Form found on our website or viewed at the court public terminal. NOTICE
                    RE REDACTION OF TRANSCRIPTS: If necessary, within 7 business days
                    each party shall inform the Court of their intent to redact personal identifiers
                    by filing a Notice of Intent to Redact. Please read the policy located on our
                    website www.wied.uscourts.gov Redaction Statement due 1/4/2021. Redacted
                    Transcript Deadline set for 1/11/2021. Release of Transcript Restriction set for
                    3/11/2021. (Armbruster, Susan)
12/07/2020   54     NOTICE of Appearance by David S Lesser on behalf of Democratic National
                    Committee. Attorney(s) appearing: David S. Lesser (Lesser, David)
12/07/2020   55     NOTICE of Appearance by Jamie Dycus on behalf of Democratic National
                    Committee. Attorney(s) appearing: Jamie S. Dycus (Dycus, Jamie)
12/07/2020   56     NOTICE of Appearance by Nancy A Temple on behalf of Christine Todd
                    Whitman, et al. Amici Group. Attorney(s) appearing: Nancy A. Temple
                    (Temple, Nancy)
12/07/2020   57     MOTION to File Amicus Brief by Christine Todd Whitman, et al. Amici
                    Group. (Attachments: # 1 Exhibit Proposed Brief of Amici Curiae)(Temple,
                    Nancy)
12/07/2020   58     DISCLOSURE Statement by Christine Todd Whitman, et al. Amici Group.
                    (Temple, Nancy)
12/07/2020   59     NOTICE of Appearance by Stephen Morrissey on behalf of Tony Evers.
                    Attorney(s) appearing: Stephen E. Morrissey (Morrissey, Stephen)
12/08/2020   60     NOTICE of Appearance by Corey F Finkelmeyer on behalf of Marge
                    Bostelmann, Ann S Jacobs, Dean Knudson, Douglas J La Follette, Robert F
                    Spindell, Jr, The Wisconsin Elections Commission, Mark L Thomsen.
                    Attorney(s) appearing: Corey F. Finkelmeyer (Finkelmeyer, Corey)
12/08/2020   61     ORDER signed by Judge Brett Ludwig on 12/8/20 GRANTING 16 Motion to
                    Intervene; GRANTING 23 Motion to Intervene. Intervenors may respond to
                    plaintiffs complaint and motion for declaratory and injunctive relief by no later
                    than 5:00 p.m. on 12/8/20. (cc: all counsel) (MP)
12/08/2020   62     MOTION to Stay Evidentiary Hearing, or in the alternative MOTION to
                    Quash Subpoena for Meagan Wolfe filed by Marge Bostelmann, Ann S
                    Jacobs, Dean Knudson, Douglas J La Follette, Robert F Spindell, Jr, The
                    Wisconsin Elections Commission, Mark L Thomsen. (Kilpatrick, Steven).
                    Added MOTION to Quash on 12/8/2020 (vkb)

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12/08/2020   63     ORDER ESTABLISHING EXHIBIT PROCEDURES signed by Judge Brett
                    Ludwig on 12/8/20. No later than Wednesday, December 9, 2020, at 5 p.m.
                    (CT), the parties must file exhibits on the docket and deliver courtesy copes to
                    the District Court. (cc: all counsel)(MP)
12/08/2020   64     NOTICE of Appearance by Seth P Waxman on behalf of Democratic National
                    Committee. Attorney(s) appearing: Seth P. Waxman (Waxman, Seth)
12/08/2020   65     NOTICE of Appearance by James F Cirincione on behalf of George L
                    Christenson, Julietta Henry. Attorney(s) appearing: James F. Cirincione
                    (Cirincione, James)
12/08/2020   66     NOTICE of Appearance by Andrew J Kramer on behalf of George L
                    Christenson, Julietta Henry. Attorney(s) appearing: Andrew J. Kramer
                    (Kramer, Andrew)
12/08/2020   67     NOTICE of Appearance by John W McCauley on behalf of George L
                    Christenson, Julietta Henry. Attorney(s) appearing: John W. McCauley
                    (McCauley, John)
12/08/2020   68     Rule 7(h) Expedited Non−Dispositive MOTION to Quash Subpoena,
                    MOTION for Protective Order or Order in Limine Barring Testimony of
                    Maribeth Witzel−Behl and Delaying Any Evidentiary Hearing by Scott
                    McDonell, Satya Rhodes−Conway, Maribeth Witzel−Behl. (May, Michael).
                    Added MOTION for Order in Limine and for Protective Order on 12/8/2020
                    (vkb)
12/08/2020   69     MOTION to Dismiss by Scott McDonell, Satya Rhodes−Conway, Maribeth
                    Witzel−Behl. (May, Michael)
12/08/2020   70     COMBINED BRIEF in Support filed by John Antaramian, Tara Coolidge,
                    Eric Genrich, Matt Krauter, Cory Mason, Scott McDonell, Satya
                    Rhodes−Conway, Kris Teske, Maribeth Witzel−Behl re 69 MOTION to
                    Dismiss . (May, Michael)
12/08/2020   71     MOTION to Dismiss by John Antaramian, Tara Coolidge, Eric Genrich, Matt
                    Krauter, Cory Mason, Kris Teske. (Gahnz, Dixon)
12/08/2020   72     NOTICE by Tony Evers of Joinder in Other State Defendants' Motion to Stay
                    Evidentiary Hearing (Mandell, Jeffrey)
12/08/2020   73     DECLARATION of Michael P. May (Attachments: # 1 Exhibit 1 − Petition
                    for Original Action, # 2 Exhibit 2 − Order entered by Supreme Court on
                    12/3/2020, # 3 Exhibit 3 − Notice of Appeal, # 4 Exhibit 4 − Certificate of
                    Ascertainment for President, # 5 Exhibit 5 − Wisconsin Supreme Court Order
                    dated 3/31/2020, # 6 Exhibit 6 − The Wisconsin Election Commission
                    Amended Guidance, # 7 Exhibit 7 − Wisconsin Supreme Court Order dated
                    12/4/2020, # 8 Exhibit 8 − U.S. District Court Order dated 10/14/2020, # 9
                    Exhibit 9 − King v. Whitmer, No. 20−13134, # 10 Exhibit 10 − MI Court of
                    Appeals Order dated 12/4/2020, # 11 Exhibit 11 − Photo of secure ballot drop
                    box)(May, Michael)
12/08/2020   74     CERTIFICATE OF SERVICE by Scott McDonell, Satya Rhodes−Conway,
                    Maribeth Witzel−Behl (May, Michael)
12/08/2020   75

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                    RESPONSE to Motion filed by John Antaramian, Tara Coolidge, Eric
                    Genrich, Matt Krauter, Cory Mason, Scott McDonell, Satya Rhodes−Conway,
                    Kris Teske, Maribeth Witzel−Behl re 6 MOTION for Preliminary Injunction
                    For Expedited Declaratory and Injunctive Relief Pursuant to Article II of the
                    United States Constitution MOTION for Hearing . (Gahnz, Dixon)
12/08/2020   76     RESPONSE to Motion filed by Tom Barrett, Jim Owczarski, Claire
                    Woodall−Vogg re 6 MOTION for Preliminary Injunction For Expedited
                    Declaratory and Injunctive Relief Pursuant to Article II of the United States
                    Constitution MOTION for Hearing . (Carroll, James)
12/08/2020   77     DISCLOSURE Statement by George L Christenson, Julietta Henry. (Jones,
                    Andrew)
12/08/2020   78     MOTION to Dismiss by George L Christenson, Julietta Henry. (Jones,
                    Andrew)
12/08/2020   79     Expedited MOTION to Stay Evidentiary Hearing or in the Alternative,
                    MOTION to Quash Subpoenas to Defendants Barrett and Woodall−Vogg by
                    Tom Barrett, Jim Owczarski, Claire Woodall−Vogg. (McClain, Patrick).
                    Added MOTION to Quash on 12/8/2020 (vkb)
12/08/2020   80     DECLARATION of Claire Woodall−Vogg (Attachments: # 1 Exhibit A, # 2
                    Exhibit B, # 3 Exhibit C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F, # 7
                    Exhibit G, # 8 Exhibit H, # 9 Exhibit I, # 10 Exhibit J, # 11 Exhibit K, # 12
                    Exhibit L, # 13 Exhibit M, # 14 Exhibit N, # 15 Exhibit O, # 16 Exhibit
                    P)(Carroll, James)
12/08/2020   81     BRIEF in Opposition filed by George L Christenson, Julietta Henry re 6
                    MOTION for Preliminary Injunction For Expedited Declaratory and
                    Injunctive Relief Pursuant to Article II of the United States Constitution and
                    Motion for Hearing and BRIEF IN SUPPORT of 78 Motion to Dismiss (Jones,
                    Andrew)
12/08/2020   82     DECLARATION of Andrew A. Jones (Attachments: # 1 Exhibit 1 −
                    Milwaukee County Complaint, # 2 Exhibit 2 − WI Appeal No. 2020−AP−557
                    Order)(Jones, Andrew)
12/08/2020   83     Magistrate Judge Jurisdiction Form filed by George L Christenson, Julietta
                    Henry. (NOTICE: Pursuant to Fed.R.Civ.P. 73 this document is not viewable
                    by the judge.) (Jones, Andrew)
12/08/2020   84     MOTION to Dismiss Plaintiff's Complaint by Tony Evers. (Mandell, Jeffrey)
12/08/2020   85     NOTICE of Appearance by Maxted M Lenz on behalf of Center for Tech and
                    Civic Life. Attorney(s) appearing: Maxted Lenz (Lenz, Maxted)
12/08/2020   86     MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM by Tom
                    Barrett, Jim Owczarski, Claire Woodall−Vogg. (Carroll, James)
12/08/2020   87     BRIEF in Support filed by Tom Barrett, Jim Owczarski, Claire
                    Woodall−Vogg re 86 MOTION TO DISMISS FOR FAILURE TO STATE A
                    CLAIM . (Carroll, James)
12/08/2020   88     NOTICE of Appearance by Kendall W Harrison on behalf of Center for Tech
                    and Civic Life. Attorney(s) appearing: Kendall W. Harrison (Harrison,

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                    Kendall)
12/08/2020   89     DISCLOSURE Statement by Scott McDonell, Satya Rhodes−Conway,
                    Maribeth Witzel−Behl. (May, Michael)
12/08/2020   90     JOINDER by Dorothy Harrell, Wendell J. Harris, Sr., Earnestine Moss,
                    Wisconsin State Conference NAACP re 62 MOTION to Stay Evidentiary
                    Hearing, or in the alternative to Quash Subpoena for Meagan Wolfe, 79
                    Expedited MOTION to Stay Evidentiary Hearing and Quash Subpoenas to
                    Defendants Barrett and Woodall−Vogg . (Goode, Joseph)
12/08/2020   91     Rule 7(h) Expedited Non−Dispositive MOTION for Leave to File Non−Party
                    Amicus Brief by Center for Tech and Civic Life. (Attachments: # 1 Exhibit A
                    − Amicus Brief with Appendix A, # 2 Text of Proposed Order)(Harrison,
                    Kendall)
12/08/2020   92     DISCLOSURE Statement by Center for Tech and Civic Life. (Harrison,
                    Kendall)
12/08/2020   93     TEXT ONLY ORDER signed by Judge Brett Ludwig on 12/8/2020 re 62 Civil
                    L.R. 7(h) Expedited Nondispositive Motion to Stay Evidentiary Hearing or, in
                    the alternative, to Quash Subpoena for Meagan Wolfe by Defendants
                    Wisconsin Elections Commission and its Members and Wisconsin Secretary
                    of State Douglas LaFollette. The State Defendants' motion to stay the
                    evidentiary hearing is denied. Consistent with the discussions at last Friday's
                    status/scheduling conference, the Court will allow the plaintiff a hearing on the
                    claims raised and relief sought in the complaint. Defendants will have the
                    opportunity to make any arguments raised in their forthcoming motion to
                    dismiss at the December 10, 2020 hearing. The State Defendants' motion to
                    quash will be addressed at the December 9, 2020 final pretrial conference. The
                    Court understands the State Defendants' desire not to unnecessarily burden the
                    proposed witness, particularly where, as plaintiff has acknowledged, the
                    material facts are not in dispute. Accordingly, in advance of the final pretrial
                    conference, the parties are directed to meet and confer on a potential set of
                    stipulated facts that would obviate the need for the witnesses' testimony. If no
                    agreement is reached, the Court will rule on the motion at the final pretrial
                    conference. (cc: all counsel) (MP)
12/08/2020   94     BRIEF in Opposition filed by Tony Evers re 6 MOTION for Preliminary
                    Injunction For Expedited Declaratory and Injunctive Relief Pursuant to
                    Article II of the United States Constitution MOTION for Hearing .
                    (Attachments: # 1 Exhibit 1 WVA v. WEC, # 2 Exhibit 2 Trump v. Boockvar,
                    # 3 Exhibit 3 Trump v. Secretary Commonwealth, # 4 Exhibit 4 Trump v.
                    Evers Order, # 5 Exhibit 5 Trump v. Biden Consolidation Order, # 6 Exhibit 6
                    King v. Whitmer, # 7 Exhibit 7 Kelly v. Commonwealth, # 8 Exhibit 8 Wood
                    v. Raffensperger, # 9 Exhibit 9 Wood v. Raffensberger (11th Cir.), # 10
                    Exhibit 10 WVA v. Racine, # 11 Exhibit 11 Trump v. Biden Notice of Appeal,
                    # 12 Exhibit 12 Trump v. Biden Motion for Judgment)(Mandell, Jeffrey)
12/08/2020   95     BRIEF in Support filed by Tony Evers re 84 MOTION to Dismiss Plaintiff's
                    Complaint . (Attachments: # 1 Appendix A Outline of Complaint Headings, #
                    2 Exhibit 1 King v. Whitmer, # 3 Exhibit 2 Pearson v. Kemp Dkt. 74, # 4
                    Exhibit 3 Trump v. Sec. of PA, # 5 Exhibit 4 Bognet v. Commonwealth, # 6
                    Exhibit 5 Hotze v. Hollins, # 7 Exhibit 6 Jefferson v. Dane County, # 8 Exhibit

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                    7 WVA v. Racine, # 9 Exhibit 8 Ga. Voters All. v. Fulton Cty., # 10 Exhibit 9
                    S.C. Voters All. v. Charleston Cty., # 11 Exhibit 10 PA Voters All. v. Ctr.
                    Cty., # 12 Exhibit 11 Tex. Voters All. v. Dallas Cty., # 13 Exhibit 12 Iowa
                    Voters All. v. Black Hawk Cty., # 14 Exhibit 13 Election Integrity v. Lansing,
                    # 15 Exhibit 14 Minn. Voters All. v. Minneapolis, # 16 Exhibit 15 O'Bright v.
                    Lynch, # 17 Exhibit 16 Trump v. Evers, # 18 Exhibit 17 Wis. Voters All. v.
                    WEC, # 19 Exhibit 18 Trump v. Biden Consolidation Order, # 20 Exhibit 19
                    Trump v. Biden Recount Petition, # 21 Exhibit 20 Wood v. Raffensperger
                    (11th Cir.), # 22 Exhibit 21 Kelly v. Commonwealth, # 23 Exhibit 22 Wood v.
                    Raffensperger, # 24 Exhibit 23 Andino v. Middleton)(Mandell, Jeffrey)
12/08/2020   96     MOTION to Dismiss by Marge Bostelmann, Ann S Jacobs, Dean Knudson,
                    Douglas J La Follette, Robert F Spindell, Jr, The Wisconsin Elections
                    Commission, Mark L Thomsen. (Roth, Colin)
12/08/2020   97     MOTION to Dismiss by Democratic National Committee. (Umberger,
                    Michelle)
12/08/2020   98     BRIEF in Opposition filed by Marge Bostelmann, Ann S Jacobs, Dean
                    Knudson, Douglas J La Follette, Robert F Spindell, Jr, The Wisconsin
                    Elections Commission, Mark L Thomsen 6 MOTION for Preliminary
                    Injunction For Expedited Declaratory and Injunctive Relief Pursuant to
                    Article II of the United States Constitution and Motion for Hearing and BRIEF
                    IN SUPPORT of 96 MOTION to Dismiss . (Roth, Colin) Modified on
                    12/8/2020 (vkb)
12/08/2020    99    MOTION to Dismiss for Failure to State a Claim and MOTION to Dismiss for
                    Lack of Jurisdiction filed by Dorothy Harrell, Wendell J. Harris, Sr.,
                    Earnestine Moss and Wisconsin State Conference NAACP (Goode, Joseph)
                    Modified on 12/8/2020 (vkb)
12/08/2020   100    BRIEF IN OPPOSITION re 6 Motion for Preliminary Injunction and BRIEF
                    IN SUPPORT re 99 MOTION to Dismiss for Lack of Jurisdiction and FOR
                    FAILURE TO STATE A CLAIM filed by Dorothy Harrell, Wendell J. Harris,
                    Sr., Earnestine Moss and Wisconsin State Conference NAACP. (Attachments:
                    # 1 Exhibit A − Oral Argument, # 2 Exhibit B − Trump v. Evers, # 3 Exhibit C
                    − Mueller v. Jacobs, # 4 Exhibit D − Wisc. Voters v. Wisc. Election
                    Commission)(Goode, Joseph) Modified on 12/8/2020 (vkb)
12/08/2020   101    BRIEF in Opposition filed by Democratic National Committee re 6 MOTION
                    for Preliminary Injunction For Expedited Declaratory and Injunctive Relief
                    Pursuant to Article II of the United States Constitution MOTION for Hearing .
                    (Attachments: # 1 Exhibit 1 − Trump v. Evers Case, # 2 Exhibit 2 − Mueller v.
                    Jacobs Case, # 3 Exhibit 3 − Wisconsin Voters Alliance Case, # 4 Exhibit 4 −
                    King v. Whitmer Case, # 5 Exhibit 5 − March 29, 2020 Guidance, # 6 Exhibit
                    6 − Jefferson v. Dane Case, # 7 Exhibit 7 − CTCL Webpage, # 8 Exhibit 8 −
                    Sept 26, 2020 Guidance, # 9 Exhibit 9 − Aug 19, 2020 Guidance, # 10 Exhibit
                    10 − October 18, 2016 Guidance, # 11 Exhibit 11 − Election Manual, # 12
                    Exhibit 12 − Wisconsin Election Commission Press Release)(Umberger,
                    Michelle)
12/08/2020   102    TEXT ONLY ORDER signed by Judge Brett Ludwig on 12/8/2020 re 57
                    Motion for Leave to File Brief of Amici Curiae Christine Todd Whitman, John
                    Danforth, Lowell Weicker, et al., in Support of Defendants' Opposition to the

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                    Motion for Preliminary Injunctive Relief. The Motion is GRANTED. (cc: all
                    counsel) (MP)
12/08/2020   103    TEXT ONLY ORDER signed by Judge Brett Ludwig on 12/8/2020 re 91 Civil
                    L.R. 7(h) Expedited Non−Dispositive Motion for Leave to File Non−Party
                    Amicus Brief. The Motion is GRANTED. (cc: all counsel) (MP)
12/08/2020   104    TEXT ONLY ORDER signed by Judge Brett Ludwig on 12/8/2020 re 68 Civil
                    L.R. 7(h) Expedited Nondispositive Motion to Quash Subpoena, for Protective
                    Order or Order In Limine Barring Testimony of Maribeth Witzel−Behl and
                    Delaying Any Evidentiary Hearing. The Defendants' motion to delay the
                    evidentiary hearing is denied. Consistent with the discussions at last Friday's
                    status/scheduling conference, the Court will allow the plaintiff a hearing on the
                    claims raised and relief sought in the complaint. The Defendants' motion to
                    quash, for protective order or order in limine will be addressed at the
                    December 9, 2020 final pretrial conference. The Court understands the
                    Defendants' desire not to unnecessarily burden the proposed witness,
                    particularly where, as plaintiff has acknowledged, the material facts are not in
                    dispute. Accordingly, in advance of the final pretrial conference, the parties
                    are directed to meet and confer on a potential set of stipulated facts that would
                    obviate the need for the witnesses' testimony. If no agreement is reached, the
                    Court will rule on the motion at the final pretrial conference. (cc: all counsel)
                    (MP)
12/08/2020   105    TEXT ONLY ORDER signed by Judge Brett Ludwig on 12/8/2020 re 79 Civil
                    L.R. 7(h) Expedited Non−Dispositive Motion to Stay Evidentiary Hearing or,
                    in the alternative, to Quash Subpoena for Thomas Barrett and Claire
                    Woodall−Vogg. The Defendants' motion to stay the evidentiary hearing is
                    denied. Consistent with the discussions at last Friday's status/scheduling
                    conference, the Court will allow the plaintiff a hearing on the claims raised
                    and relief sought in the complaint. Defendants will have the opportunity to
                    make any arguments raised in their motion to dismiss at the December 10,
                    2020 hearing. The Defendants' motion to quash will be addressed at the
                    December 9, 2020 final pretrial conference. The Court understands the
                    Defendants' desire not to unnecessarily burden the proposed witnesses,
                    particularly where, as plaintiff has acknowledged, the material facts are not in
                    dispute. Accordingly, in advance of the final pretrial conference, the parties
                    are directed to meet and confer on a potential set of stipulated facts that would
                    obviate the need for the witnesses' testimony. If no agreement is reached, the
                    Court will rule on the motion at the final pretrial conference. (cc: all counsel)
                    (MP)
12/08/2020   106    AMICUS BRIEF filed by Christine Todd Whitman, John Danforth, Lowell
                    Weicker, et al in Support of Defendants' Oppositions to the Motion for
                    Preliminary Injunctive Relief (vkb)
12/08/2020   107    AMICUS BRIEF filed by Center for Tech and Civic Life (Attachments: # 1
                    Appendix A)(vkb)
12/09/2020   108    AMENDED DISCLOSURE Statement filed by Scott McDonell, Satya
                    Rhodes−Conway, Maribeth Witzel−Behl (May, Michael) Modified on
                    12/9/2020 (vkb)
12/09/2020   109

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                    REPLY BRIEF in Support filed by Donald J Trump re 6 MOTION for
                    Preliminary Injunction For Expedited Declaratory and Injunctive Relief
                    Pursuant to Article II of the United States Constitution and Motion for a
                    Hearing and BRIEF in Response to Motions to Dismiss (Consolidated)
                    (Motions to Dismiss 69 , 71 , 78 , 84 , 86 , 96 , 97 and 99 ) (Attachments: # 1
                    Exhibit A − WEC Original Action Brief)(Bock, William) Modified on
                    12/9/2020 (vkb)
12/09/2020   110    MOTION for Leave to File Excess Pages One Oversized Reply Brief of Up to
                    Fifty Pages by Donald J Trump. (Attachments: # 1 Text of Proposed
                    Order)(Bock, William)
12/09/2020   111    NOTICE of Appearance by Joshua A Matz on behalf of Center for Tech and
                    Civic Life. Attorney(s) appearing: Joshua Matz (Matz, Joshua)
12/09/2020   112    NOTICE of Appearance by Harmann Singh on behalf of Center for Tech and
                    Civic Life. Attorney(s) appearing: Harmann Singh (Singh, Harmann)
12/09/2020   113    DISCLOSURE Statement by John Antaramian, Tara Coolidge, Eric Genrich,
                    Matt Krauter, Cory Mason, Kris Teske. (Gahnz, Dixon)
12/09/2020   114    MOTION in Limine by Tony Evers. (Brook, Davida)
12/09/2020   115    Report of Parties' Meet and Confer Conference. (Attachments: # 1 Exhibit A −
                    Report of Parties Meet and Confer Conf.)(Bock, William)
12/09/2020   116    ORDER ESTABLISHING REMOTE HEARING PROTOCOLS signed by
                    Judge Brett Ludwig on 12/9/20. By 12/9/20 at 9:00 p.m. counsel should email
                    the court and provide the names of witnesses and 1−2 attorneys per party who
                    will participate in the hearing. On 12/10/20 at 8:45 am. (fifteen minutes before
                    the set time for the hearing), all counsel and witnesses shall participate in a
                    pre−hearingtesting of the Zoom audio and video conference technologies. (cc:
                    all counsel)(MP)
12/09/2020   117    Exhibit List by Donald J Trump. (Attachments: # 1 Exhibit 1 − Wisconsin
                    Public Radio 11.6.20, # 2 Exhibit 2 − Guidance for Indefinitely Confined
                    Electors, # 3 Exhibit 3 − Dane County Clerk Facebook Post, # 4 Exhibit 4 −
                    Milwaukee Sentinel Journal 3.25.20, # 5 Exhibit 5 − Rep.Steineke and Sen.
                    Roth editorial 4.20−.20, # 6 Exhibit 6 − Washington Examiner 11.10.20, # 7
                    Exhibit 7 − Building Confidence in U.S. Elections−Report of Comm. on
                    Fed.Election Reform, # 8 Exhibit 8 − Fed.Prosecution of Election Offenses
                    2017, # 9 Exhibit 9 − Voting Fraud is a Real Concern − Newsweek, # 10
                    Exhibit 10 − As More Vote by Mail, Faulty Ballots Could Impact Elections −
                    The New York Time, # 11 Exhibit 11 − Real Clear Politics Top Battlegrounds
                    Page, # 12 Exhibit 12 − Approved Wisconsin State Voting Plan 2020, # 13
                    Exhibit 13 − WEC Drop Box Guidance 8.19.20, # 14 Exhibit 14 − Absentee
                    Ballot Drop Box Info − WI Elections Commissions, # 15 Exhibit 15 − CISA
                    Ballot Drop Box Page, # 16 Exhibit 16 − Wisconsin Center for Investigative
                    Journalism 10.29.20, # 17 Exhibit 17 − Wisconsin Watch − Search for a ballot
                    drop box in your community 10.27.20, # 18 Exhibit 18 − WEC Drop Box List,
                    # 19 Exhibit 19 − Drop Box Info − Hayward WI, # 20 Exhibit 20 − Drop Box
                    Info − City of Menasha Library Drop Box, # 21 Exhibit 21 − Drop Box Info −
                    City of Vermont − Dane County, # 22 Exhibit 22 − Drop Box Info − Village
                    of DeForest − Dane County, # 23 Exhibit 23 − Drop Box Info − Village of
                    Boyd, # 24 Exhibit 24 − Milwaukee Journal Sentinel − Milwaukee gears up
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                    for historic election, # 25 Exhibit 25 − Milwaukee Journal Sentinel − Absentee
                    ballot drop boxes replaced, # 26 Exhibit 26 − City of Madison Notice re Drop
                    Boxes 10.16.20, # 27 Exhibit 27 − Drop Box Info − Madison, WI − Elver
                    Park, # 28 Exhibit 28 − CTCL Partners with 5 Wisconsin Cities to Implement
                    Safe Voting Plan 7.6.20, # 29 Exhibit 29 − Voter Turnout in Madison and
                    Dane Surpass Record, # 30 Exhibit 30 − Green Bay Election, # 31 Exhibit 31
                    − CTCL Announcement of Zuckerberg Donation, # 32 Exhibit 32 − WEC
                    Approves Grants and Mailing for Fall Elections 05−29−20, # 33 Exhibit 33 −
                    Affidavit of Bartholomew R. Williams, # 34 Exhibit 34 − Affidavit of Marie
                    Klobuchar, # 35 Exhibit 35 − Spoiling Absentee Ballot Guidance 10.19.20, #
                    36 Exhibit 36 − WEC Uniform Absentee Instructions − By−Mail Voters, # 37
                    Exhibit 37 − What Poll Watchers Can and Cant Do 10.20.20, # 38 Exhibit 38
                    − Affidavit of Beth A. Brown, # 39 Exhibit 39 − Affidavit of Mary Angelina
                    Horn, # 40 Exhibit 40 − Affidavit of Charles A. Armgardt, # 41 Exhibit 41 −
                    Affidavit of Steven S. Goetz, # 42 Exhibit 42 − Affidavit of Lana Sloane, # 43
                    Exhibit 43 − Affidavit of Kyle Hudson, # 44 Exhibit 44 − Affidavit of Jeremy
                    Bowers, # 45 Exhibit 45 − Q&A with Meagan Wolfe, # 46 Exhibit 46 − WEC
                    CARES Subgrant Prog.Announcement, # 47 Exhibit 47 − Article & Photo of
                    Oshkosh City Hall, # 48 Exhibit 48 − Photo of Oshkosh City Hall−2020, # 49
                    Exhibit 49 − Stmt of Madison City Clerk Maribeth Witzel Behl, # 50 Exhibit
                    50 − Madison City Clerk Tweet − Sept 25, 2020, # 51 Exhibit 52 − Wisc.
                    Republicans tried to stifle plan − 9.26.20, # 52 Exhibit 53 − City of Madison
                    PowerPoint Pres. on Democracy in the Park, # 53 Exhibit 54 − Photo of Duffle
                    Bags from City Madison PowerPoint, # 54 Exhibit 55 − Madison Democracy
                    in the Park Event 10.1.20, # 55 Exhibit 56 − Video from Madison Democracy
                    in the Park Event, # 56 Exhibit 57 − Photo of Madison Democracy in the Park
                    10.1.20, # 57 Exhibit 58 − Absentee Ballot Drop Boxes Available 15 locations
                    (Madison), # 58 Exhibit 59 − Wisc.Public Radio, Madison Receives..., # 59
                    Exhibit 60 − City's Ballot Boxes Getting Heavy Use 10.6.20, # 60 Exhibit 61
                    − City Milwaukee Common Council Press Release, # 61 Exhibit 62 −
                    Affidavit of Claire Woodall−Vogg 11.27.20, # 62 Exhibit 63 − Milwaukee
                    Election Results Expedted...11.3.20, # 63 Exhibit 64 − Milwaukee's Central
                    Count facility will tabulate...11.1.20, # 64 Exhibit 65 − Audio−Radio Ad for
                    Democracry in the Park by Biden for President, # 65 Exhibit 66 − Pltf's
                    Submission Excerpts from Wisc.Election Code, # 66 Exhibit 67 −
                    Wisc.Elections Comm.Q&A with Clerks, # 67 Exhibit 68 − WEC's Responses
                    to Pltf's Req.Admissions and Doc.Requests, # 68 Exhibit 69 − Tweet by
                    Madison Clerk 10.28.20, # 69 Exhibit 70 − Organizing and Processing
                    Absentee Ballots Schrenshot fr WEC Training Video, # 70 Exhibit 71 − WEC
                    Clerks Training Video 2020, # 71 Exhibit 72 − WEC Response to Disc.Req.
                    #1, # 72 Exhibit 73 (Part 1) − WEC Response to Req.No. 2, # 73 Exhibit 73
                    (Part 2) − WEC Response to Disc.Req. 2, # 74 Exhibit 74 − WEC Response to
                    Disc.Req. #3 Concerning Public Access, # 75 Exhibit 75 − Affidavit of David
                    Bolter)(Bock, William)
12/09/2020   118    NOTICE of Appearance by Christopher Bouchoux on behalf of Democratic
                    National Committee. Attorney(s) appearing: Christopher Bouchoux
                    (Bouchoux, Christopher)
12/09/2020   119    Exhibit List by Tony Evers. (Attachments: # 1 Exhibit 501 Wis. 2020
                    Certificate of Ascertainment, # 2 Exhibit 502 Recount Petition, # 3 Exhibit
                    503 11.11.20 Tweet from Donald Trump Jr., # 4 Exhibit 504 11.25.20

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                    Washington Post Article, # 5 Exhibit 505 Summary of 2020 WI
                    Election−Related Cases, # 6 Exhibit 506 Trump Withdrawal of Motion in
                    Georgia)(Mandell, Jeffrey)
12/09/2020   120    REPLY BRIEF in Support filed by Tony Evers re 84 MOTION to Dismiss
                    Plaintiff's Complaint . (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit
                    C, # 4 Exhibit D, # 5 Exhibit E, # 6 Exhibit F)(Brook, Davida)
12/09/2020   121    NOTICE by Democratic National Committee of Supplemental Authority
                    (Attachments: # 1 Exhibit 1: Bowyer v. Ducey Order)(Umberger, Michelle)
12/09/2020   122    Court Minutes and Order from Final Pre−trial Conference held 12/9/20 before
                    Judge Brett Ludwig. The court granted 110 Motion for Leave to File Excess
                    Pages. Parties may file replies to their motions to dismiss by 9:00 p.m. on
                    12/9/20. Parties shall meet and confer to discuss a potential stipulation of facts
                    and an exhibit list to be used for each witness before the final hearing. A report
                    of the conference must be filed by 8:30 a.m. on 12/10/20. (Court Reporter
                    Thomas M.) (MP)
12/09/2020   123    NOTICE by Tony Evers Governor Evers' Notice of Supplemental Authority
                    (Attachments: # 1 Exhibit A)(Brook, Davida)
12/10/2020   124    SUMMONS Returned Executed by Donald J Trump. All Defendants.
                    (Attachments: # 1 Proof of Service − Rhodes−Conway, served on 12/4/2020 #
                    2 Proof of Service − Woodall−Vogg, served on 12/4/2020 # 3 Proof of Service
                    − Christenon, served on 12/4/2020 # 4 Proof of Service − Jacobs, served on
                    12/4/2020 # 5 Proof of Service − Owczarski, served on 12/4/2020 # 6 Proof of
                    Service − Thomsen, served on 12/4/2020 # 7 Proof of Service − Evers, served
                    on 12/4/2020 # 8 Proof of Service − Mason, served on 12/4/2020 # 9 Proof of
                    Service − Barrett, served on 12/4/2020 # 10 Proof of Service − Henry, served
                    on 12/4/2020 # 11 Proof of Service − Teske, served on 12/4/2020 # 12 Proof
                    of Service − Genrich, served on 12/4/2020 # 13 Proof of Service − Bostelman,
                    served on 12/4/2020 # 14 Proof of Service − Spindell, served on 12/4/2020 #
                    15 Proof of Service − La Follette, served on 12/4/2020 # 16 Proof of Service −
                    McDonell, served on 12/4/2020 # 17 Proof of Service − Coolidge, 12/4/2020 #
                    18 Proof of Service − Krauter, served on 12/4/2020 # 19 Proof of Service −
                    Artaramian, served on 12/4/2020 # 20 Proof of Service − Knudson, served on
                    12/4/2020 # 21 Proof of Service − Witzel−Behl, served on 12/4/2020)(Bock,
                    William) Modified on 12/10/2020 (asc).
12/10/2020   125    WAIVER OF SERVICE Returned Executed (Attachments: # 1 Waiver of
                    Service − Christenson, waiver mailed on 12/7/2020 # 2 Waiver of Service −
                    Henry, waiver mailed on 12/7/2020)(Bock, William) Modified on 12/10/2020
                    (asc).
12/10/2020   126    Report Tender of Proof of Service of Subpoenas on Defendants. (Attachments:
                    # 1 Proof of Service (Subpoena) − Woodall−Vogg, # 2 Proof of Service
                    (Subpoena) − Barrett, # 3 Proof of Service (Subpoena) − Atty Carroll for
                    Woodall−Vogg and Barrett)(Bock, William)
12/10/2020   127    STIPULATION of Proposed Facts and Exhibits by Tony Evers. (Attachments:
                    # 1 Exhibit A − Williams Declaration, # 2 Envelope B − Bolter
                    Declaration)(Mandell, Jeffrey)
12/10/2020   128

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                    DECLARATION of Bartholomew R. Williams and David J. Bolter
                    (SIGNED) in reference to (ECF No. 127 ) (Attachments: # 1 Declaration of
                    Bartholomew R. Williams, # 2 Declaration of David J. Bolter)(Bock, William)
                    Modified on 12/10/2020 (mlm). Modified on 12/10/2020 (mlm).
12/10/2020   129    NOTICE of Appearance by Mike B Wittenwyler on behalf of Center for Tech
                    and Civic Life. Attorney(s) appearing: Mike B. Wittenwyler (Wittenwyler,
                    Mike)
12/10/2020   130    TRANSCRIPT of EVIDENTIARY HEARING held on 12/10/2020 before
                    Judge Brett Ludwig Court Reporter/Transcriber John Schindhelm & Susan
                    Armbruster, Contact at 414−290−2640 or 414−290−2641. Transcripts may be
                    purchased using the Transcript Order Form found on our website or viewed at
                    the court public terminal. NOTICE RE REDACTION OF
                    TRANSCRIPTS: If necessary, within 7 business days each party shall inform
                    the Court of their intent to redact personal identifiers by filing a Notice of
                    Intent to Redact. Please read the policy located on our website
                    www.wied.uscourts.gov Redaction Statement due 1/7/2021. Redacted
                    Transcript Deadline set for 1/14/2021. Release of Transcript Restriction set for
                    3/15/2021. (Schindhelm, John)
12/11/2020   131    NOTICE by Tony Evers of Supplemental Authority (Mandell, Jeffrey)
12/11/2020   132    NOTICE by Tony Evers of Supplemental Authority (Attachments: # 1 Exhibit
                    A − Simanek's Order, # 2 Exhibit B − Findings of Fact Excerpt, # 3 Exhibit C
                    − Recount Hearing Transcript)(Mandell, Jeffrey)
12/12/2020   133    Court Minutes and Order from Final Hearing held 12/10/20 before Judge Brett
                    Ludwig. The court denies as moot: 62 Motion to Quash, 68 Motion to Quash,
                    79 Motion to Quash and 114 Motion in Limine. The court takes under
                    advisement: 6 motion for preliminary injunction and all motions to
                    dismiss,ECF Nos. 69 , 71 , 78 , 84 , 86 , 96 , 97 , and 99 . The stipulation of
                    proposed facts and exhibits, 127 is APPROVED. Defendant Governor Evers
                    oral motion for judgment is taken under advisement(Court Reporter John S.
                    and Susan A.) (MP)
12/12/2020   134    DECISION AND ORDER signed by Judge Brett Ludwig on 12/12/20.
                    Plaintiffs complaint 1 is DISMISSED WITH PREJUDICE. Plaintiffs motion
                    for preliminary injunction 6 is DENIED as moot. Defendants motions to
                    dismiss 69 , 71 , 78 , 84 , 86 , 96 , 97 , and 99 , are GRANTED. Defendant
                    Governor Evers oral motion for judgment under Fed. R. Civ. P. 52 is
                    GRANTED. (cc: all counsel) (MP)
12/12/2020   135    JUDGMENT signed by Deputy Clerk on 12/12/20. The action is DISMISSED
                    WITH PREJUDICE and the plaintiff shall recover nothing on the complaint.
                    (cc: all counsel) (MP)
12/12/2020   136    NOTICE OF APPEAL as to 134 Order on Motion to Dismiss,,,,,,,, Order on
                    Motion for Preliminary Injunction,, Order on Motion to Dismiss for Failure to
                    State a Claim,,,,,,,, Order on Motion to Dismiss/Lack of Jurisdiction,, Order on
                    Motion for Hearing, 135 Judgment by Donald J Trump. Filing Fee PAID
                    $505, receipt number AWIEDC−3667398 (cc: all counsel) (Bock, William)
12/12/2020   137    Docketing Statement by Donald J Trump re 136 Notice of Appeal, (cc: all
                    counsel) (Bock, William)

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12/12/2020   138    Report Plaintiff's Notice of Filing. (Bock, William)
12/14/2020   139    Attorney Cover Letter re: 136 Notice of Appeal, (Attachments: # 1 Docket
                    Sheet)(jv)




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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
                           MILWAUKEE DIVISION

Donald J. Trump, Candidate for President               )
of the United States of America,                       )
                                                       )
                                                       )
              Plaintiff,                               )
                                                       )
vs.                                                    ) Case No. 2:-20-cv-01785-BHL
                                                       )
                                                       )
The Wisconsin Elections Commission, and                )
its members, Ann S. Jacobs, Mark L.                    )
Thomsen, Marge Bostelman, Dean                         )
Knudson, Robert F. Spindell, Jr., in their             )
official capacities, Scott McDonell in his             )
official capacity as the Dane County Clerk,            )
George L. Christenson in his official                  )
capacity as the Milwaukee County Clerk,                )
Julietta Henry in her official capacity as the         )
Milwaukee Election Director, Claire                    )
Woodall-Vogg in her official capacity as the           )
Executive Director of the Milwaukee                    )
Election Commission, Mayor Tom Barrett,                )
Jim Owczarski, Mayor Satya Rhodes-                     )
Conway, Maribeth Witzel-Behl, Mayor Cory               )
Mason, Tara Coolidge, Mayor John                       )
Antaramian, Matt Krauter, Mayor Eric                   )
Genrich, Kris Teske, in their official                 )
Capacities; Douglas J. La Follette,                    )
Wisconsin Secretary of State, in his official          )
capacity, and Tony Evers, Governor of                  )
Wisconsin, in his Official capacity.                   )


              Defendants.


                           PLAINTIFF’S NOTICE OF APPEAL

      Plaintiff Donald J. Trump, Candidate for President of the United States of

America, by counsel, hereby appeals to the United States Court of Appeals for the


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Seventh Circuit the Decision and Order (Doc 134) and the Judgment dismissing this

action with prejudice (Doc 135), each of which were entered in this action on the

12th day of December, 2020.



                                  Respectfully Submitted,

                                  KROGER, GARDIS & REGAS, LLP


                                  /s/ William Bock, III
                                  William Bock III, Indiana Attorney No. 14777-49
                                  James A. Knauer, Indiana Attorney No. 5436-49
                                  Kevin D. Koons, Indiana Attorney No. 27915-49

                                  ATTORNEYS FOR PLAINTIFF DONALD J. TRUMP

KROGER, GARDIS & REGAS, LLP
111 Monument Circle, Suite 900
Indianapolis, IN 46204
Phone: (317) 692-9000



                          CERTIFICATE OF SERVICE

      A copy of the foregoing document was served upon all parties’ counsel of
record via this Court’s CM/ECF service on this 12th day of December, 2020.


                                       /s/ William Bock, III




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                               No. 20-
               IN THE UNITED STATES COURT OF APPEALS
                      FOR THE SEVENTH CIRCUIT

Donald J. Trump, Candidate for President   )
of the United States of America,           )
                                           )
                                           )   Appeal from the United States
             Plaintiff-Appellant,          )   District Court for the Eastern
                                           )   District of Wisconsin, Milwaukee
vs.                                        )   Division
                                           )
                                           )
The Wisconsin Elections                    )   District Court No. 2:-20-cv-01785
Commission, and its members,               )
Ann S. Jacobs, Mark L. Thomsen,            )   The Honorable Brett H. Ludwig,
Marge Bostelman, Dean Knudson,             )   Judge Presiding
Robert F. Spindell, Jr., in their          )
official capacities, Scott McDonell        )
in his official capacity as the Dane       )
County Clerk, George L.                    )
Christenson in his official capacity       )
as the Milwaukee County Clerk,             )
Julietta Henry in her official             )
capacity as the Milwaukee Election         )
Director, Claire Woodall-Vogg in           )
her official capacity as the               )
Executive Director of the                  )
Milwaukee Election Commission,             )
Mayor Tom Barrett, Jim                     )
Owczarski, Mayor Satya Rhodes-             )
Conway, Maribeth Witzel-Behl,              )
Mayor Cory Mason, Tara Coolidge,           )
Mayor John Antaramian, Matt                )
Krauter, Mayor Eric Genrich, Kris          )
Teske, in their official Capacities;       )
Douglas J. La Follette, Wisconsin          )
Secretary of State, in his official        )
capacity, and Tony Evers,                  )
Governor of Wisconsin, in his              )
Official capacity.                         )
                                           )
                                           )
             Defendants-Appellees          )




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                            DOCKETING STATEMENT

      Plaintiff Donald J. Trump, Candidate for President of the United States of

America, by counsel, pursuant to Fed. R. App. P. 12 and Cir. R. 3(c)(1), hereby

submits his Docketing Statement:

      1.     District Court Jurisdiction. The United States District Court for

the Eastern District of Wisconsin had jurisdiction over this matter as a civil action

arising under the laws of the United States pursuant to 42 U.S.C. § 1983 and Art. I,

§ 4, cl. 2, Art. II, § 1, cl. 4 and the First and Fourteenth Amendments of the United

States Constitution, and 28 U.S.C. § 1331 (federal question jurisdiction), 28 USC

1343 (civil rights and elective franchise), 28 U.S.C. § 2201 (authorizing declaratory

relief), and 28 U.S.C. § 2202 (authorizing injunctive relief). Plaintiff-Appellant filed

his Complaint for Expedited Declaratory and Injunctive Relief Pursuant to Article II

of the United States Constitution on December 2, 2020.

      2.     Appellate Court Jurisdiction. The United States Court of Appeals

for the Seventh Circuit has jurisdiction over appeals from the United States District

Court for the Eastern District of Wisconsin, Milwaukee Division. Additionally, the

United States Court of Appeals for the Seventh Circuit has jurisdiction over an

appeal from a final order pursuant to 28 U.S.C. §1291. The date of Decision and

Order sought to be reviewed was December 12, 2020, and was made a final

judgment December 12, 2020. The filing date of the Plaintiff/Appellant’s Notice of

Appeal was December 12, 2020.




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       3.     Timeliness of the Appeal. On December 12, 2020, the district court

entered its Decision and Order (Dkt. 134) and its Judgment (Dkt. 135). A notice of

appeal has been timely filed in this matter on December 12, 2020, which is within

30 days of both entries of the district court’s orders pursuant to Fed. R. App.

4(a)(1)(A).

       4.     Prior Appellate Proceedings. There have been no prior related

appellate proceedings in this case.

       5.     Additional Requirement of Circuit Rule 3(I). This is a civil case

that does not involve any criminal convictions. 28 U.S.C. § 1915(g) is inapplicable.

The following defendants are parties in their official capacities:

              a. Ann S. Jacobs in her official capacity as a member of the Wisconsin

                 Elections Commission;

              b. Mark L. Thomsen in his official capacity as a member of the

                 Wisconsin Elections Commission;

              c. Marge Bostelman in her official capacity as a member of the

                 Wisconsin Elections Commission;

              d. Dean Knudson in his official capacity as a member of the Wisconsin

                 Elections Commission;

              e. Robert F. Spindell Jr. in his official capacity as a member of the

                 Wisconsin Elections Commission;

              f. Scott McDonell in his official capacity as the Dane County Clerk;




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      g. George L. Christenson in his official capacity as the Milwaukee

         County Clerk;

      h. Julietta Henry in her official capacity as the Milwaukee Election

         Director;

      i. Claire Woodall-Vogg in her official capacity as the Executive

         Director of the Milwaukee Election Commission;

      j. Mayor Tom Barrett in his official capacity as the Mayor of the City

         of Milwaukee;

      k. Jim Owczarski in his official capacity as the City Clerk of the City

         of Milwaukee;

      l. Mayor Satya Rhodes-Conway in her official capacity as the Mayor

         of Madison;

      m. Maribeth Witzel-Behl in her official capacity as the City Clerk of

         the City of Madison;

      n. Mayor Cory Mason in his official capacity as the Mayor of Racine;

      o. Tara Coolidge in her official capacity as the City Clerk of the City of

         Racine;

      p. Mayor John Antaramian in his official capacity as the Mayor of the

         City of Kenosha;

      q. Matt Krauter in his official capacity as the City Clerk of the City of

         Kenosha;




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            r. Mayor Eric Genrich in his official capacity as the Mayor of the City

                of Green Bay;

            s. Kris Teske in her official capacity as the City Clerk of the City of

                Green Bay;

            t. Douglas J. La Follette in his official capacity as the Wisconsin

                Secretary of State; and

            u. Tony Evers in his official capacity as the Governor of Wisconsin.



Date: December 12, 2020

                                  Respectfully Submitted,

                                  /s/ William Bock, III
                                  ATTORNEY FOR PLAINTIFF DONALD J. TRUMP


William Bock, III
James A. Knauer
Kevin D. Koons
KROGER, GARDIS & REGAS, LLP
111 Monument Circle, Suite 900
Indianapolis, IN 46204
Phone: (317) 692-9000



                          CERTIFICATE OF SERVICE

      A copy of the foregoing document was served upon all parties’ counsel of
record via this Court’s CM/ECF service on this 12th day of December, 2020.


                                       /s/ William Bock, III




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                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
_____________________________________________________________________________

DONALD J. TRUMP,

                           Plaintiff,
         v.
                                                                        Case No. 20-cv-1785-BHL

The WISCONSIN ELECTIONS COMMISSION, ET AL.,

                  Defendants.
______________________________________________________________________________

                            DECISION AND ORDER
______________________________________________________________________________

         This is an extraordinary case. Plaintiff Donald J. Trump is the current president of the
United States, having narrowly won the state of Wisconsin’s electoral votes four years ago,
through a legislatively mandated popular vote, with a margin of just over 22,700 votes. In this
lawsuit, he seeks to set aside the results of the November 3, 2020 popular vote in Wisconsin, an
election in which the recently certified results show he was defeated by a similarly narrow margin
of just over 20,600 votes.        Hoping to secure federal court help in undoing his defeat, plaintiff
asserts that the defendants, a group of some 20 Wisconsin officials, violated his rights under the
“Electors Clause” in Article II, Section 1 of the Constitution.1              Plaintiff seizes upon three pieces
of election guidance promulgated by the Wisconsin Elections Commission (WEC)—a creation of
the Wisconsin Legislature that is specifically authorized to issue guidance on the state election
statutes—and argues that the guidance, along with election officials’ conduct in reliance on that
guidance, deviated so significantly from the requirements of Wisconsin’s election statutes that the
election was itself a “failure.”
         Plaintiff’s requests for relief are even more extraordinary.                He seeks declarations that
defendants violated his Constitutional rights and that the violations “likely” tainted more than

1
  Plaintiff’s complaint also refers to the First Amendment and the Equal Protection and Due Process Clauses of the
Fourteenth Amendment. At the December 9, 2020 final pre-hearing conference, plaintiff disclaimed reliance on any
First Amendment or Due Process claims. While counsel purported to reserve the Equal Protection claim, the
complaint offers no clue of a coherent Equal Protection theory and plaintiff offered neither evidence nor argument to
support such a claim at trial. It is therefore abandoned. See Puffer v. Allstate Ins. Co., 675 F.3d 709, 718 (7th Cir.
2012) (undeveloped arguments and arguments unsupported by pertinent authority are waived).



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50,000 ballots.     Based on this declaratory relief, his complaint seeks a “remand” of the case to
the Wisconsin Legislature to consider and remedy the alleged violations.                 Plaintiff’s ask has since
continued to evolve.       In his briefing, he says he wants “injunctive relief” requiring the Governor
“to issue a certificate of determination consistent with, and only consistent with, the appointment
of electors by the Wisconsin legislature.”           In argument, counsel made plain that plaintiff wants
the Court to declare the election a failure, with the results discarded, and the door thus opened for
the Wisconsin Legislature to appoint Presidential Electors in some fashion other than by following
the certified voting results.
        Defendants want plaintiff’s claims thrown out, arguing his complaint fails to state a claim
and raising several knotty issues of federal jurisdiction.           With the Electoral College meeting just
days away, the Court declined to address the issues in piecemeal fashion and instead provided
plaintiff with an expedited hearing on the merits of his claims.               On the morning of the hearing,
the parties reached agreement on a stipulated set of facts and then presented arguments to the
Court. Given the significance of the case, the Court promised, and has endeavored, to provide a
prompt decision.       Having reviewed the caselaw and plaintiff’s allegations, the Court concludes it
has jurisdiction to resolve plaintiff’s claims, at least to the extent they rest on federal law,
specifically the Electors Clause. And, on the merits of plaintiff’s claims, the Court now further
concludes that plaintiff has not proved that defendants violated his rights under the Electors Clause.
To the contrary, the record shows Wisconsin’s Presidential Electors are being determined in the
very manner directed by the Legislature, as required by Article II, Section 1 of the Constitution.
Plaintiff’s complaint is therefore dismissed with prejudice.2

                                    PROCEDURAL BACKGROUND
                                      AND FINDINGS OF FACT

        1. THE PARTIES

        Plaintiff Donald J. Trump is the current, properly elected, President of the United States.
In 2016, after a statewide recount, plaintiff won Wisconsin’s Presidential Electors by 22,748 votes.
Certificate of Ascertainment for President, Vice President and Presidential Electors General
Election – November 8, 2016, seal affixed by Governor Scott Walker, National Archives,

2
  This decision constitutes the Court’s findings of fact and conclusions of law under Federal Rule of Civil Procedure
52.




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https://www.archives.gov/electoral-college/2016.             Plaintiff went on to win the 2016 Electoral
College with 304 electoral votes.               2016 Electoral College Results, National Archives,
https://www.archives.gov/electoral-college/2016.            He was a candidate for reelection to a second
term as President in the November 3, 2020 election.
        Defendant Wisconsin Elections Commission is a creation of the Wisconsin Legislature.
See 2015 Wis. Act 118 §4, Wis. Stat. §5.05. It is a bi-partisan, six-person commission that has
“responsibility for the administration” of the state election laws in Chapters 5 to 10 and 12 of the
Wisconsin Statutes.3 Wis. Stat. §15.61. Any action by the commission requires the affirmative
vote of at least two-thirds of its members. Wis. Stat. §5.05(1e). Defendants Ann S. Jacobs,
Mark L. Thomsen, Marge Bostelmann, Dean Knudson, and Robert F. Spindell, Jr. are five of the
six members of the commission.4
        Defendant Scott McDonnell is sued in his official capacity as the Dane County Clerk. As
the county clerk, McDonnell has a host of election-related responsibilities, including providing
ballots and elections supplies to the municipalities, preparing ballots, educating voters, and training
election officials.    See Wis. Stat. §7.10. Additionally, McDonnell serves on the county board
of canvassers, which is responsible for examining election returns and certifying the results to the
WEC. Wis. Stat. §7.60.
        Defendants Maribeth Witzel-Behl, Tara Coolidge, Matt Krauter, and Kris Teske are sued
in their official capacities as the City Clerks of Madison, Racine, Kenosha, and Green Bay.                    As
city clerks, they supervise both voter registration and elections. Wis. Stat. §7.15.              They provide
training for voters and election officials and equip the polling places.          Id. Additionally, they are
part of each respective city’s board of canvassers.          Wis. Stat. §7.53.
        Because of their substantial populations, Milwaukee County and the City of Milwaukee
have additional “election boards.”             Milwaukee County has a county board of election
commissioners and the City of Milwaukee has a municipal board of election commissioners.
Wis. Stat. §7.20(1).      These boards have the same powers and duties assigned to the municipal
and county clerks in other parts of the state.                Wis. Stat. §7.21.        Defendant George L.
Christiansen is sued in his official capacity as the Milwaukee County Clerk.               As the county clerk,

3
  Chapter 11 of the Wisconsin Statutes contains the state’s campaign finance laws, which are outside of the WEC’s
authority.
4
  For reasons not explained, plaintiff did not name Commissioner Julie M. Glancey as a defendant.




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he serves as the executive director of the county board of election commissioners, id., but he is not
on the county board of canvassers.    See Wis. Stat. §7.60.    Jim Owczarski is sued in his official
capacity as the Milwaukee City Clerk.       Like Defendant Christiansen, Owczarski maintains some
election-related responsibilities, but he is not on the city’s board of canvassers. Wis. Stat. §7.53.
       Julietta Henry is sued in her official capacity as Milwaukee County Elections Director.
The record in unclear on Henry’s duties as Elections Director.      Claire Woodall-Vogg is sued in
her official capacity as the Executive Director of the City of Milwaukee Election Commission.
She has the same powers and duties assigned to city clerks throughout the rest of the state.     See
Wis. Stat. §7.21.
       Defendants Tom Barrett, Satya Rhodes-Conway, Cory Mason, John Antaramian, and Eric
Genrich are sued in their official capacities as the Mayors of Milwaukee, Madison, Racine,
Kenosha, and Green Bay.       Plaintiff contends that these five mayors unlawfully promoted the
expansion of mail-in voting in their cities by adopting practices that were banned by the Wisconsin
Legislature.   Under Wisconsin’s election statutes, mayors play no formal role in presidential
elections.
       Defendants Tony Evers and Douglas La Follette are sued in their official capacities as the
Governor and Secretary of State of Wisconsin.      As governor, in accordance with Wis. Stat. §7.70,
Defendant Evers signed the certificate of ascertainment prepared by the WEC, affixed the state
seal, and forwarded the certificate to the U.S. administrator of general services.        Wis. Stat.
§7.70(5)(b). Defendant La Follette also signed the certificate of ascertainment.

       2. WISCONSIN’S MANNER OF CHOOSING PRESIDENTIAL ELECTORS

       Article II, Section 1, Clause 2 of the United States Constitution (the “Electors Clause”)
states, “Each State shall appoint, in such Manner as the Legislature thereof may direct, a Number
of Electors…” U.S. CONST. art. II, §1, cl. 2.     Pursuant to this federal Constitutional command,
the Wisconsin Legislature has directed that Wisconsin choose its Presidential Electors through a
general election.   See Wis. Stat. §8.25.    Specifically, the Wisconsin Legislature has directed:
       (1) Presidential electors. By general ballot at the general election for choosing
       the president and vice president of the United States there shall be elected as
       many electors of president and vice president as this state is entitled to elect
       senators and representatives in congress. A vote for the president and vice
       president nominations of any party is a vote for the electors of the nominees.




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Wis. Stat. §8.25(1).      The statutes define “general election” as “the election held in even-
numbered years on the Tuesday after the first Monday in November to elect United States …
presidential electors.”     Wis. Stat. §5.02(5).
        The Wisconsin Legislature has also established laws detailing the particulars of election
administration; these details are set forth in Chapters 5 to 12 of the Wisconsin Statutes.        For the
last five years, responsibility for the administration of Wisconsin elections has rested with the
WEC.      The Wisconsin Legislature created the WEC in 2015 specifically to “have the
responsibility for the administration of … laws relating to elections and election campaigns.”
2015 Wis. Act 118 §4; Wis. Stat. §5.05. To carry out these duties, the legislature has delegated
significant authority to the WEC.       The Wisconsin Legislature directed the WEC to appoint an
administrator to “serve as the chief election officer” of the state. Wis. Stat. §5.05(3d), (3g).     The
Wisconsin Legislature has authorized the WEC to conduct investigations, issue subpoenas, and
sue for injunctive relief.     Wis. Stat. §5.05(b), (d).   The legislature also directed the WEC to
receive reports of “possible voting fraud and voting rights violations,” Wis. Stat. §5.05(13), and to
“investigate violations of laws administered by the commission and … prosecute alleged civil
violations of those laws.”      Wis. Stat. §5.05(2m)(a).
        The Wisconsin Legislature has also assigned powers and duties under the state election
laws to municipal and county clerks, municipal and county boards of canvassers, and in
Milwaukee, the municipal and county boards of election commissioners. Wis. Stat. §§7.10, 7.15,
7.21.   The Wisconsin Legislature has directed that these officials, along with the WEC,
administer elections in Wisconsin.       See Wis. Stat. chs. 5 to 10 and 12.     When the polls close
after an election, these officials make sure that “all ballots cast at an election … be counted for the
person … for whom … they were intended.” Wis. Stat. §7.50(2).             Once all the votes have been
counted, the WEC chairperson “shall publicly canvass the returns and make his or her certifications
and determinations on or before … the first day of December following a general election.”          Wis.
Stat. §7.70(3)(a).     For the determination of Presidential Electors, the Wisconsin Legislature has
directed the WEC to “prepare a certificate showing the determination of the results of the canvass
and the names of the persons elected.”          Wis. Stat. §7.70(5)(b).    The legislature has further
directed that “the governor shall sign [the certificate], affix the great seal of the state, and transmit
the certificate by registered mail to the U.S. administrator of general services.”     Id. At noon on




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the first Monday after the second Wednesday in December, the Presidential Electors meet to vote
for the presidential candidate from the political party which nominated them.         Wis. Stat. §7.75.
        In addition to logistically administering the election, the Wisconsin Legislature has
directed the WEC to issue advisory opinions, Wis. Stat. §5.05(6a), and “[p]romulgate rules …
applicable to all jurisdictions for the purpose of interpreting or implementing the laws regulating
the conduct of elections or election campaigns.”           Wis. Stat. §5.05(1)(f).     The WEC is to
“conduct or prescribe requirements for educational programs to inform electors about voting
procedures, voting rights, and voting technology.”       Wis. Stat. §5.05(12).
        Finally, the Wisconsin Legislature has provided detailed recount procedures.           Wis. Stat.
§9.01. After requesting a recount, “any candidate … may appeal to circuit court.” Wis. Stat.
§9.01(6).   The legislature has also directed that “[Wis. Stat. §9.01] constitutes the exclusive
judicial remedy for testing the right to hold an elective office as the result of an alleged irregularity,
defect or mistake committed during the voting or canvassing process.” Wis. Stat. §9.01(11).

        3. WEC’S GUIDANCE IN ADVANCE OF THE 2020 PRESIDENTIAL
           ELECTION IN WISCONSIN

        Consistent with its statutory mandate, since the start of the year, the WEC has published
more than 175 messages to County and Municipal elections officials in anticipation of the
November 2020 general election.          See Recent Clerk Communications, Wisconsin Elections
Commission, https://elections.wi.gov/clerks/recent-communications.            In addition to notifying
elections officials of training opportunities, relevant court decisions, and upcoming deadlines,
these messages provided detailed guidance on how to prepare for the election and count the
resulting votes. See id.     As stipulated by the parties, the WEC issued specific guidance on three
specific issues flagged by plaintiff:      missing or incorrect absentee ballot witness certificate
addresses, voters claiming indefinitely confined status, and absentee ballot drop boxes.
(Stipulation of Proposed Facts and Exhibits, ECF No. 127 ¶11.)
        WEC’s guidance on at least one of these issues dates back even further.          More than four
years ago, on October 18, 2016, the WEC issued written guidance to city and county elections
boards providing guidance on the topic of witness addresses provided in connection with absentee




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balloting.   (Stipulation, ECF No. 127 ¶4.)5         This guidance explained to elections officials how
to handle missing or incorrect witness addresses on absentee certificate envelopes. (Pl. Ex. 73,
ECF No. 117-72.)        The memo highlighted Wis. Stat. §6.87, which states “[i]f a certificate is
missing the address of a witness, the ballot may not be counted.”             (Id.)   Since the statute does
not provide any additional details, the WEC defined “address” as a “street number, street name
and name of municipality.”         (Id.)   The memo then provided guidance for situations where a
voter may have left off the certificate one or more components of the witness address.                  In the
memorandum, the WEC states “clerks must take corrective actions in an attempt to remedy a
witness address error.”     (Id.) The guidance allowed clerks to contact the voter to notify them of
the address requirement; however, the clerk only had to contact the voter if the clerk could not
“remedy the address insufficiency from extrinsic sources.”           (Id.) The WEC stated “clerks shall
do all that they can reasonably do to obtain any missing part of the witness address.”             (Id.) The
purpose of the guidance was to “assist voters in completing the absentee certificate sufficiently so
their votes may be counted.” (Id.) This has been the unchallenged guidance on the issue for
more than four years.
        In September 2020, as directed in Wis. Stat. §7.08(3), the WEC updated the Wisconsin
Election Administration Manual. The updated manual states “[c]lerks may add a missing witness
address using whatever means are available.”             Wis. Election Admin. Manual, 99 (September
2020). Finally, on October 19, 2020, the WEC issued “Spoiling Absentee Ballot Guidance,”
reaffirming the previous guidance, and stating “the clerk should attempt to resolve any missing
witness address information prior to Election Day if possible, and this can be done through reliable
information (personal knowledge, voter registration information, through a phone call with the
voter or witness). The witness does not need to appear to add a missing address.”                 (Pl. Ex. 35,
ECF No. 117-35.)
        On March 29, 2020, in the early stages of the COVID-19 pandemic, the WEC issued
“Guidance for Indefinitely Confined Electors COVID-19” to election officials across the state.
(Pl. Ex. 2, ECF No. 117-2.) Through the published guidance, the WEC stated that “many voters



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 The parties’ stipulation describes this as an October 19, 2016 memorandum. (Stipulation of Proposed Facts and
Exhibits, ECF No. 127 ¶4.) The memo itself is dated October 18, 2016, however. (ECF No. 117-72.) The
Court will use the date on the actual document.




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of a certain age or in at-risk populations” may meet the standard of indefinitely confined due to
the ongoing pandemic.      (Id.) The Guidance also stated:
        1. Designation of indefinitely confined status is for each individual voter to make
        based upon their current circumstances. It does not require permanent or total
        inability to travel outside of the residence. The designation is appropriate for
        electors who are indefinitely confined because of age, physical illness or infirmity
        or are disabled for an indefinite period.

        2. Indefinitely confined status shall not be used by electors simply as a means to
        avoid the photo ID requirement without regard to whether they are indefinitely
        confined because of age, physical illness or infirmity, or disability.

(Id.) The WEC issued this guidance after the Dane County Clerk issued a statement advising that
the pandemic itself was sufficient to establish indefinite confinement for all voters.          (See
Stipulation, ECF No. 127 ¶23.)          The statement was challenged in court, and the Wisconsin
Supreme Court granted a temporary injunction against the Dane County Clerk.         See Jefferson v.
Dane County, 2020AP557-OA (March 31, 2020).           In concluding that the Dane County guidance
was incorrect, the Wisconsin Supreme Court expressly confirmed that the WEC guidance quoted
above provided “the clarification on the purpose and proper use of the indefinitely confined status
that is required at this time.”   Id.
        On August 19, 2020, the WEC sent all Wisconsin election officials additional guidance
that, among other things, discussed absentee ballot drop boxes.      (Pl. Ex. 13, ECF No. 117-13.)
Wisconsin law provides that absentee ballots “shall be mailed by the elector, or delivered in person,
to the municipal clerk.” Wis. Stat §6.87(4)(b). The WEC memorandum provided advice on
how voters could return their ballots to the municipal clerk, including “information and guidance
on drop box options for secure absentee ballot return for voters.”   (Pl. Ex. 13, ECF No. 117-13.)
Citing to a resource developed by the U.S. Cybersecurity and Infrastructure Security Agency
(CISA), the guidance states the “drop boxes can be staffed or unstaffed, temporary or permanent.”
(Id.) The memorandum stated that the “drop boxes … allow voters to deliver their ballots in
person” and will allow voters “who wait until the last minute to return their ballot.” (Id.) The
memorandum lists potential types of drop boxes, along with security requirements, chain of
custody, and location suggestions for the drop boxes. (Id.)
        As stipulated by the parties, election officials in Milwaukee County, the City of
Milwaukee, Dane County, and the City of Madison relied on the above WEC guidance when




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handling absentee ballots with missing or incorrect witness address, using absentee ballot drop
boxes, and handling voters that had claimed indefinitely confined status.            (Stipulation, ECF No.
127 ¶11.) Because they relied on the guidance, election workers added missing information to
the witness address on at least some absentee ballots, more than five hundred drop boxes were
used throughout the state, and approximately 240,000 “indefinitely confined” voters requested
absentee ballots.    (Id. ¶¶ 17, 18, 28.)

        4. THE 2020 PRESIDENTIAL ELECTION IN WISCONSIN

        On November 3, 2020, nearly 3.3 million Wisconsin voters cast their ballots in the general
election for the President and Vice President of the United States. (Stipulation, ECF No. 127 ¶7.)
At 8:00 p.m., all polls in Wisconsin closed.             Wis. Stat. §6.78.      The respective boards of
canvassers began to publicly canvass all the votes received at the polling place. Wis. Stat. §7.51.
        Voting officials in Milwaukee dealt with an unprecedented number of absentee ballots
during this election.     (Pl. Ex. 62, ECF No. 117-61.)          In Milwaukee and Dane Counties, and
likely other locations, election officials processed the absentee ballots in accordance with guidance
published by the WEC.         (Stipulation, ECF No. 127 ¶11.)         The WEC received the last county
canvass on November 17, 2020. (Id. ¶8.) On November 18, 2020, the deadline for requesting
a recount, plaintiff sought a recount under Wis. Stat. §9.01 of only Dane and Milwaukee Counties.6
(Id. ¶9.) The Milwaukee County recount was completed on November 27, 2020 and the Dane
County recount was completed on November 29, 2020.                    (Id. ¶10.)    Once the recount was
complete, the WEC prepared the Certificate of Ascertainment for the Governor’s signature.                  See
Wis. Stat. §7.70(5)(b). On November 30, 2020, Governor Evers signed the certificate and affixed
the state seal.   (Def. Ex. 501, ECF No. 119-1.)
        On December 1, 2020, the day after Wisconsin certified its election results, Donald Trump,
Michael Pence, and the Trump campaign filed a petition in the Wisconsin Supreme Court against
Governor Tony Evers, the Wisconsin Elections Commission, and other state election officials.

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  After receiving a recount petition and $3 million payment from the Trump campaign, the six-member, bipartisan
commission conducted a meeting on November 18, 2020, at which the commission unanimously approved the recount
order. The WEC ordered a partial recount of the presidential election results in Dane and Milwaukee Counties on
November 19, 2020. The recount order required Dane and Milwaukee Counties’ boards of canvassers to convene
by 9 a.m. Saturday, November 21, and complete their work by noon on Tuesday, December 1. Wis. Elections
Comm’n Order for Recount, Recount EL 20-01, https://elections.wi.gov/node/7250.




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Trump v. Evers, No. 2020AP001971 (Wis. S. Ct.).              The issues presented by the plaintiffs included
whether absentee ballots should be excluded due to various alleged deviations from legislated
election procedures.      As a remedy, they asked the Court to decertify the state’s election results
and exclude 221,000 votes in Milwaukee and Dane Counties from the count.                       On December 3,
2020, the Wisconsin Supreme Court denied the petition for leave to commence an original action
in the state Supreme Court, but noted that, as an aggrieved candidate, plaintiff could refile at the
circuit court level.
        That same day, plaintiff filed his complaint in this Court.                 Additionally on that day,
plaintiff, along with Michael R. Pence, and Donald J. Trump for President, Inc. filed complaints
in Dane and Milwaukee County Circuit Courts against Joseph R. Biden, Kamala D. Harris, and
several Wisconsin election officials, some of whom are defendants in this case.                 Trump v. Biden,
No. 2020CV007092 (Milw. Co. Cir. Ct.), No. 2020CV002514 (Dane Co. Cir. Ct.).                        Chief Justice
Roggensack of the Wisconsin Supreme Court combined the cases and appointed Racine County
Reserve Judge Stephen A. Simanek to hear it. The suits are substantially similar and both allege
irregularities in the way absentee ballots were administered. In the Milwaukee County case, the
plaintiffs allege the ballots were issued without the elector having first submitted a written
application; there were incomplete and altered certification envelopes; and there was a massive
surge in indefinitely confined absentee ballot voters. The Dane County case included the same
claims, plus one involving an allegation that absentee ballots were improperly completed or
delivered to City of Madison employees at a public event, “Democracy in the Park.”                            The
plaintiffs asked the state court to set aside the county board of canvassers’ legal determinations
that certain absentee ballots should be counted due to deviations in state elections laws.7

                              LEGAL CONCLUSIONS AND ANALYSIS

        Plaintiff claims that defendants violated his rights under the Electors Clause by “deviating
from the law, substituting their ‘wisdom’ for the laws passed by the State Legislature and signed
by the Governor.”       (Pl. Br., ECF No. 109.)         In the complaint, plaintiff contends three specific
pieces of guidance issued by the WEC, and followed by the named defendants, contradict


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  On December 11, Judge Simanek affirmed the recount and ruled against plaintiff in the state court proceeding.
Trump v. Biden, No. 2020CV007092, Doc. 101 (Milw. Co. Cir. Ct. Dec. 11, 2020). Plaintiff has since filed an
appeal in the Wisconsin Supreme Court.




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Wisconsin’s election statutes, and that the WEC lacked the authority to issue any guidance in
contravention of Wisconsin law. (Compl., ECF No. 1.)            Invoking the Court’s federal question
jurisdiction under 28 U.S.C. §1331, plaintiff asserts claims for the violation of his federal
Constitutional rights under 42 U.S.C. §1983.      (Id.) Among other remedies, he seeks declaratory
relief under the Declaratory Judgment Act, 28 U.S.C. §2201, and asks this Court to declare the
Wisconsin general election void under the U.S. Constitution.        (Id.)

I.      This Court Has Limited Jurisdiction to Resolve Plaintiff’s Electors Clause
        Challenge.

        Before addressing the merits of plaintiff’s claims, this Court has the obligation of
confirming that it has jurisdiction even to consider them.     Kokkonen v. Guardian Life Ins. Co. of
Am., 511 U.S. 375, 377 (1994) (federal district courts “possess only that power authorized by
Constitution and statute”).     Defendants offer a host of arguments related to the justiciability of
plaintiff’s claims.   They insist that plaintiff lacks standing to assert his claims, that his claims are
barred by the Eleventh Amendment, and that they are moot.         (Defs. Brs., ECF No. 70, 81, 87, 95,
98, 100, 101, and 120.) Finally, they contend that even if this Court could resolve plaintiff’s
claims, it should abstain from doing so.       (Defs. Brs., ECF No. 70, 81, 87, 95, 101, and 120.)
Despite the tricky questions of federal jurisdiction implicated by plaintiff’s claims and requests for
relief, the Court concludes plaintiff’s claims are justiciable, at least in part. Given the importance
of the issues at stake and the need for a prompt resolution, the Court will not abstain from ruling
on whether defendants violated plaintiff’s federal rights under the Electors Clause.

        A. Plaintiff Has Standing to Seek an Adjudication of the Alleged Violation of His
           Rights under the Electors Clause.

        Defendants insist that plaintiff lacks standing to assert claims and obtain declaratory relief
based on the Electors Clause.     (Defs. Brs., ECF No. 70, 81, 87, 95, 98, 100, 101, and 120.)      That
plaintiff seeks primarily declaratory relief does not remove his obligation to establish standing.
The Declaratory Judgment Act permits the Court to “declare the rights and other legal relations of
any interested party,” but only when there is “a case of actual controversy within its jurisdiction.”
28 U.S.C. §2201(a). “A ‘controversy’ in this sense must be one that is appropriate for judicial
determination,” Aetna Life Ins. Co. of Hartford, Conn. v. Haworth, 300 U.S. 227, 240 (1937), and




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“the core component of standing is an essential and unchanging part of the case-or-controversy
requirement of Article III.”    Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992).
        To establish standing, plaintiff bears the burden of proving that he “(1) suffered an injury
in fact, (2) that is fairly traceable to the challenged conduct of the defendant, and (3) that is likely
to be redressed by a favorable judicial decision.”        Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547
(2016), as revised (May 24, 2016).       An injury in fact is one in which plaintiff claims to have
“suffered ‘an invasion of a legally protected interest’ that is ‘concrete and particularized’ and
‘actual or imminent, not conjectural or hypothetical.’”        Id. (quoting Lujan, 504 U.S. at 560).
        Plaintiff asserts that he suffered an injury in fact when he “was denied the Constitutional
right to have electors appointed in a lawful manner in an election in which he was a candidate.”
(Pl. Br., ECF No. 109.)      The Court agrees. The Eighth Circuit and the Eleventh Circuit have
concluded that losing candidates likely have standing to bring a claim under the Electors Clause,
because such a candidate has suffered a “personal, distinct injury.”        Wood v. Raffensperger, No.
20-14418, 2020 WL 7094866, at *4 (11th Cir. Dec. 5, 2020); Carson v. Simon, 978 F.3d 1051,
1057 (8th Cir. 2020) (“An inaccurate vote tally is a concrete and particularized injury to candidates
such as the Electors.”).    That is the situation here:     plaintiff, a candidate for election, claims he
was harmed by defendants’ alleged failure to comply with Wisconsin law.              Assuming he could
prove his claims, he has suffered an injury.     Plaintiff, as a candidate for election, has a concrete,
particularized interest in the actual results of the general election.    Carson, 978 F.3d at 1057; see
Carney v. Adams, ___ S. Ct. ___, 2020 WL 7250101 (Dec. 10, 2020) (holding plaintiff had not
proved injury in fact sufficient to establish standing where plaintiff was merely potential candidate
and had not yet applied for judicial position). Plaintiff has therefore established injury in fact.
        Based on the allegations in his complaint, plaintiff also meets the other requirements for
standing.   He contends that defendants’ failure to comply with Wisconsin law has resulted in a
failed election, one in which he was one of the two major-party candidates for President.
(Compl., ECF No. 1.)       As administrators of the election, defendants implemented the Wisconsin
election statutes and WEC’s guidance. His harms are therefore traceable to defendants.            And as
redress, he seeks a declaration that defendants violated the Electors Clause by failing to follow the




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directions of the Wisconsin Legislature during the 2020 Presidential Election.                                        (Id.)
Redressability is established because “plaintiff ‘personally would benefit in a tangible way from
the court’s intervention.’” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 104 n.5 (1998)
(quoting Warth v. Seldin, 422 U.S. 490, 508 (1975)).                  Thus, his alleged injury is fairly traceable
to the challenged conduct of the defendants and would be redressed by a favorable judicial
decision.
         Defendants’ arguments against standing are largely premised on their challenges to the
merits of plaintiff’s claims.         For example, defendants complain that “[p]laintiff offers no proof
whatsoever of how many votes were affected in the three categories of alleged state election law
violations he identifies.”        (Def. Br., ECF No. 98.)            But that argument puts the cart before the
horse. A court must determine standing based on the allegations in the complaint, not based on
its final resolution of the veracity of those allegations.               Spokeo, 136 S. Ct. at 1547 (“Where, as
here, a case is at the pleading stage, the plaintiff must ‘clearly ... allege facts demonstrating’ each
element.”).      If plaintiff were to succeed in proving that defendants violated the Electors Clause,
causing Wisconsin’s Presidential Electors to be appointed in a manner inconsistent with the
Wisconsin Legislature’s directives, and depriving plaintiff of his opportunity to win those
Presidential Electors, he should have the ability (and the standing) to enforce the Constitution’s
plain terms in federal court.

         B. The Eleventh Amendment and Pennhurst Do Not Apply to Plaintiff’s Unique
              Article II Claims.

         Defendants next argue that plaintiff’s claims are barred by the Eleventh Amendment and
the Supreme Court’s decision in Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89 (1984).
(Defs. Brs., ECF No. 75, 81, 98, 101, and 120.)                 They contend that plaintiff is complaining that
defendants failed to comply with state law such that the Eleventh Amendment bars this Court from
entertaining such claims.         (Id.)


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  The complaint alleges the exclusive remedy for a failed election resides in the Wisconsin Legislature. (Compl.,
ECF No. 1.) That allegation brought strongly into question whether this Court could redress Plaintiff’s injury, a
point raised by the Court at the initial hearing with the parties. Plaintiff has since explained that he seeks a declaration
that the Wisconsin general election was a failed election under 3 U.S.C. §2, a declaration he argues is a predicate to
allowing the Wisconsin Legislature to take action to determine the manner in which the state should appoint its
Presidential Electors now that the originally chosen method has “failed.” (Transcript, ECF No. 130.) While this
explanation is tenuous, it sufficiently ties the relief requested to a potential remedy to establish standing.




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        The Eleventh Amendment provides that:              “The judicial power of the United States shall
not be construed to extend to any suit in law or equity, commenced or prosecuted against one of
the United States by Citizens of another State, or by Citizens or Subjects of any Foreign State.”
Defendants are correct that, as a general matter, the Eleventh Amendment bars litigation in federal
courts against a state.9      Will v. Michigan Dep't of State Police, 491 U.S. 58, 66 (1989); MCI
Telecommunications Corp. v. Illinois Bell Tel. Co., 222 F.3d 323, 336 (7th Cir. 2000) (“[The
Eleventh] Amendment bars federal jurisdiction over suits brought against a state … [and] extends
to state agencies as well.”).     But the Supreme Court has long held that suits against state agents,
rather than against the state itself, based on those agents’ violations of federal law, can be
maintained in federal court without running afoul of the Eleventh Amendment.                      See Ex parte
Young, 209 U.S. 123, 159-60 (1908). A federal court thus may adjudicate and order relief against
state officers based on allegations of ongoing unconstitutional conduct.                              Id.; MCI
Telecommunications Corp., 222 F.3d at 345.
        In Pennhurst, the Supreme Court clarified that the rule in Ex parte Young does not extend
to claims based merely on alleged violations of state law.             465 U.S. at 106 (“[I]t is difficult to
think of a greater intrusion on state sovereignty than when a federal court instructs state officials
on how to conform their conduct to state law.”).          Thus, under the Eleventh Amendment and state
sovereign immunity, a federal court “cannot enjoin a state officer from violating state law.”              Dean
Foods Co. v. Brancel, 187 F.3d 609, 613 (7th Cir. 1999).
        The Pennhurst exception to Ex parte Young does not apply here, because plaintiff’s claims
are based on federal law—the Electors Clause of Article II, Section 1 of the U.S. Constitution.
Donald J. Trump for President, Inc. v. Boockvar, No. 2:20-CV-966, 2020 WL 5997680, at *75
(W.D. Pa. Oct. 10, 2020) (holding that claims under the Electors Clause are not barred by the
Eleventh Amendment); cf. Dean Foods Co., 187 F.3d at 614 (“the question at the heart of this
jurisdictional matter is what is the source of the regulations’ potential invalidity”).                   While
plaintiff also cites provisions of Wisconsin’s election statutes, he does so in an attempt to show
that defendants violated not merely those statutes, but rather the Electors Clause itself.                In this

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  The Eleventh Amendment precludes a federal suit against state agencies, and this likely includes the Wisconsin
Elections Commission. See Wis. Stat. §5.05; MCI Telecommunications Corp. v. Illinois Bell Tel. Co., 222 F.3d 323,
336 (7th Cir. 2000); Feehan v. Wisconsin Elections Commission, No. 20-cv-1771, 2020 WL 7250219 (E.D. Wis. Dec.
9, 2020). The WEC has not made this argument. Even if it had, plaintiff’s claims against the individual commission
members would survive.




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unique context, alleged violations of state laws implicate and may violate federal law.        See Bush
v. Palm Beach Cnty. Canvassing Bd., 531 U.S. 70, 76 (2000) (“[I]n the case of a law enacted by a
state legislature applicable not only to elections to state offices, but also to the selection of
Presidential electors, the legislature is not acting solely under the authority given it by the people
of the State, but by virtue of a direct grant of authority made under Art. II, §1, cl. 2, of the United
States Constitution.”). This is the opposite of what the Eleventh Amendment forbids; here, a
truly federal cause of action is being articulated.     Because plaintiff’s claims and request for relief
are premised on a federal Constitutional violation, not merely a violation of state law, Pennhurst
does not apply, and the Eleventh Amendment does not bar plaintiff’s claims.

        C. Plaintiff’s Claims Are Not Moot.

        Defendants also contend plaintiff’s claims are moot.          (Defs. Brs., ECF No. 70, 75, 95,
120.) They insist that because plaintiff waited until after Wisconsin certified the election results
to file suit, his suit is too late.   (Id.)    They further maintain that plaintiff’s claims are moot
because Governor Evers has already signed a “Certificate of Ascertainment For President, Vice
President, and Presidential Electors General Election - November 3, 2020” (2020 Electoral College
Results, National Archives, https://www.archives.gov/electoral-college/2020) on November 30,
2020, an act they contend makes this action irrelevant.       (Id.)
        The final determination of the next President and Vice President of the United States has
not been made, however, and the issuance of a Certificate of Ascertainment is not necessarily
dispositive on a state’s electoral votes.      See Bush v. Gore, 531 U.S. 98, 144 (2000) (Ginsburg J.,
dissenting) (noting none of the various Florida elector deadlines “has ultimate significance in light
of Congress’ detailed provisions for determining, on ‘the sixth day of January,’ the validity of
electoral votes”).
        Under the federal statute governing the counting of electoral votes, a state governor may
issue a certificate of ascertainment based on the canvassing and then a subsequent certificate of
“determination” upon the conclusion of all election challenges.        3 U.S.C. §6.    The certificate of
“determination” notifies the U.S. Congress of the state decision when Congress convenes on
January 6 to count the electoral votes.       Indeed, the WEC acknowledged that plaintiff’s claims are
not moot in a filing with the Wisconsin Supreme Court.           (Response of Respondents Wisconsin
Elections Commission and Commissioner Ann Jacobs, Trump v. Evers, No. 20AP1971-OA, filed




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Dec. 1, 2020, ECF No. 109-1.) At this time, it is also unclear whether the litigation commenced
in state court, Trump v. Biden, No. 2020CV007092 (Milw. Co. Cir. Ct.), No. 2020CV002514
(Dane Co. Cir. Ct.), is coming to a final resolution sufficient to resolve plaintiff’s challenges.
Given plaintiff’s pending appeal and the limited time available should that appeal succeed on the
state law issues, this Court will proceed to decide the merits of the federal law claims.     The Court
concludes this case is not yet moot.

        D. This Court Is Not Required to Abstain from Deciding Plaintiff’s Challenge
           under the Electors Clause.

        Defendants also contend that even if this Court could adjudicate plaintiff’s claims, it should
abstain from doing so.    (Defs. Brs., ECF No. 70, 81, 87, 95, 101, and 120.)        They focus on three
different abstention doctrines: (1) Wilton/Brillhart abstention; (2) Pullman abstention; and (3)
Colorado River abstention.      (Id.) After reviewing the law under all three forms of abstention,
this Court will decline defendants’ invitation to abstain.
        Defendants first invoke the Wilton/Brillhart abstention doctrine, derived from Wilton v.
Seven Falls Co., 515 U.S. 277, 288 (1995), and Brillhart v. Excess Ins. Co. of America, 316 U.S.
491 (1942). Under the Wilton/Brillhart abstention doctrine, “district courts possess significant
discretion to dismiss or stay claims seeking declaratory relief, even though they have subject matter
jurisdiction over such claims.”     R.R. St. & Co. v. Vulcan Materials Co., 569 F.3d 711, 713 (7th
Cir. 2009).   While labelled with Supreme Court case names, this form of abstention arises from
the plain terms of the Declaratory Judgment Act, 28 U.S.C. §§ 2201-2202, itself. Section 2201
expressly provides that district courts “may declare the rights and other legal relations of any
interested party seeking such declaration.” 28 U.S.C. § 2201(a) (emphasis added).            The statute
thus gives district courts the discretion not to declare the rights of litigants.    The Seventh Circuit
has confirmed that a district court properly exercises discretion to abstain where, for example,
“declaratory relief is sought and parallel state proceedings are ongoing.”          Envision Healthcare,
Inc. v. PreferredOne Ins. Co., 604 F.3d 983, 986 (7th Cir. 2010).
        Defendants also invoke Pullman abstention.         R.R. Comm’n of Tex. v. Pullman Co., 312
U.S. 496, 501-02 (1941).       The Pullman doctrine “applies when ‘the resolution of a federal
constitutional question might be obviated if the state courts were given the opportunity to interpret
ambiguous state law.’”      Wisconsin Right to Life State Political Action Comm. v. Barland, 664




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F.3d 139, 150 (7th Cir. 2011) (quoting Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 716-17
(1996)).     Pullman abstention is appropriate if there is (1) “a substantial uncertainty as to the
meaning of the state law” and (2) “a reasonable probability that the state court’s clarification of
state law might obviate the need for a federal constitutional ruling.”        Id. (internal quotation
marks omitted).
          Finally, defendants ask the Court to avoid deciding this case under Colorado River
abstention.    See Colorado River Water Conservation District v. United States, 424 U.S. 800, 818
(1976).     Under Colorado River abstention principles, a federal court should abstain in favor of a
parallel state court lawsuit if (1) “the concurrent state and federal actions are actually parallel” and
(2) “the necessary exceptional circumstances exist to support a stay or dismissal.” DePuy Synthes
Sales, Inc. v. OrthoLA, Inc., 953 F.3d 469, 477 (7th Cir. 2020) (internal quotation marks omitted).
          The Court declines to abstain under any of these doctrines.      The federal Constitutional
issues raised in plaintiff’s complaint are obviously of tremendous public significance.         For the
first time in the nation’s history, a candidate that has lost an election for president based on the
popular vote is trying to use federal law to challenge the results of a statewide popular election.
While there is parallel litigation pending in the state court, that litigation does not address the
federal constitutional issue that is the center of plaintiff’s case.    Given the importance of the
federal issue and the limited timeline available, it would be inappropriate to wait for the conclusion
of the state court case.   In these circumstances, the Court will exercise its discretion to declare
plaintiff’s rights under the Electors Clause and will decline to utilize Pullman or Colorado River
abstention principles to defer to the state court proceedings.

II.       Plaintiff’s Claims Fail on Their Merits—Wisconsin’s Appointment of Presidential
          Electors for the 2020 Presidential Election Was Conducted in the Manner Directed
          by the Wisconsin Legislature.

          To succeed on his claims for relief under 42 U.S.C. §1983, plaintiff must prove that
defendants acted under the color of state law and deprived him of a right secured by the
Constitution or laws of the United States.     Wilson v. Warren Cnty., Ill., 830 F.3d 464, 468 (7th
Cir. 2016) (citations omitted).    Plaintiff alleges that the defendants violated his rights under the
Electors Clause in Article II, Section 1.       (Compl., ECF No. 1.)        There is no dispute that
defendants’ actions as alleged in the complaint were undertaken under the color of Wisconsin law.




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Defendants strongly and uniformly dispute, however, that their conduct violated any Constitutional
provision.   (Defs. Brs., ECF No. 70, 81, 87, 95, 98, 100, 101, and 120.)

        A. The Wisconsin Legislature Has Directed the Appointment of Presidential
           Electors to Be by Popular Vote.

        The Electors Clause directs state legislatures to appoint presidential electors in a manner
of their choosing. U.S. CONST. art. II, § 1, cl. 2.    As the Supreme Court explained just this past
summer, the Electors Clause was the result of “an eleventh-hour compromise” at the 1787
Constitutional convention.     Chiafalo v. Washington, __ U.S. __, 140 S. Ct. 2316, 2320 (2020).
Apparently fatigued and ready to return to their homes, the delegates decided on language that
would give state legislatures the responsibility of choosing the “Manner” in which presidential
electors would be appointed.       Id. And the Supreme Court has confirmed that state legislators
have “the broadest power of determination” over who becomes a Presidential Elector.         Id. at 2324
(quoting McPherson v. Blacker, 146 U.S. 1, 27 (1892)).
        Today, the manner of appointment among the states is largely uniform.        See Chiafalo, 140
S. Ct. at 2321.   All states use an appointment process tied to the popular vote, with political parties
fielding presidential candidates having the responsibility to nominate slates of Presidential
Electors. Id. at 2321-22.     But that manner of appointing Presidential Electors is not required by
the Constitution. As Chief Justice Fuller explained in 1892:
        The constitution does not provide that the appointment of electors shall be by
        popular vote, nor that the electors shall be voted for upon a general ticket, nor that
        the majority of those who exercise the elective franchise can alone choose the
        electors. It recognizes that the people act through their representatives in the
        legislature, and leaves it to the legislature exclusively to define the method of
        effecting the object.
McPherson, 146 U.S. at 27. Historically, presidential electors have been appointed directly by
state legislatures, by general ticket, by districts, and by majority popular vote.        Id. at 27-32
(summarizing the methods by which presidential electors were appointed by state legislatures
during the first four presidential elections).    But by 1832, “all States but one had introduced
popular presidential elections.”    Chiafalo, 140 S. Ct. at 2321.
        The Wisconsin Legislature’s decision to appoint the state’s presidential electors by popular
vote is embodied in Wis. Stat. §8.25(1).     This statute provides:




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       Presidential electors. By general ballot at the general election for choosing the
       president and vice president of the United States there shall be elected as many
       electors of president and vice president as this state is entitled to elect senators
       and representatives in congress. A vote for the president and vice president
       nominations of any party is a vote for the electors of the nominees.
Wis. Stat. §8.25(1). The statutes define “general election” as “the election held in even-
numbered years on the Tuesday after the first Monday in November to elect United States …
presidential electors.”   Wis. Stat. §5.02(5).
       Plaintiff contends defendants have violated the Electors Clause by failing to appoint the
state’s presidential electors in the “Manner” directed by the Wisconsin Legislature.          (Compl.,
ECF No. 1.) By this, plaintiff means that he has raised issues with the WEC’s guidance on three
issues related to the administration of the election. This argument confuses and conflates the
“Manner” of appointing presidential electors—popular election—with underlying rules of election
administration.    As used in the Electors Clause, the word “Manner” refers to the “[f]orm” or
“method” of selection of the Presidential Electors.     Chiafalo, 140 S. Ct. at 2330 (Thomas, J.,
concurring) (citations omitted).     It “requires state legislatures merely to set the approach for
selecting Presidential electors.”   Id. Put another way, it refers simply to “the mode of appointing
electors—consistent with the plain meaning of the term.”       Id.; see also McPherson v. Blacker,
146 U.S. 1, 27 (1892) (“It has been said that the word ‘appoint’ is not the most appropriate word
to describe the result of a popular election. Perhaps not; but it is sufficiently comprehensive to
cover that mode…”).
       The approach, form, method, or mode the Wisconsin Legislature has set for appointing
Presidential electors is by “general ballot at the general election.” Wis. Stat. §8.25(1). There is
no dispute that this is precisely how Wisconsin election officials, including all the defendants,
determined the appointment of Wisconsin’s Presidential Electors in the latest election. They used
“general ballot[s] at the general election for choosing the president and vice president of the United
States” and treated a “vote for the president and vice president nominations of any party is a vote
for the electors of the nominees.” Absent proof that defendants failed to follow this “Manner” of
determining the state’s Presidential Electors, plaintiff has not and cannot show a violation of the
Electors Clause.
       Plaintiff’s complaints about the WEC’s guidance on indefinitely confined voters, the use
of absentee ballot drop boxes, and corrections to witness addresses accompanying absentee ballots




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are not challenges to the “Manner” of Wisconsin’s appointment of Presidential Electors; they are
disagreements over election administration.         Indeed, the existence of these (or other)
disagreements in the implementation of a large election is hardly surprising, especially one
conducted statewide and involving more than 3.2 million votes.                But issues of mere
administration of a general election do not mean there has not been a “general ballot” at a “general
election.” Plaintiff’s conflation of these potential nonconformities with Constitutional violations
is contrary to the plain meaning of the Electors Clause.    If plaintiff’s reading of “Manner” was
correct, any disappointed loser in a Presidential election, able to hire a team of clever lawyers,
could flag claimed deviations from the election rules and cast doubt on the election results.   This
would risk turning every Presidential election into a federal court lawsuit over the Electors Clause.
Such an expansive reading of “Manner” is thus contrary both to the plain meaning of the
Constitutional text and common sense.

       B. Even If “Manner” Includes Aspects of Election Administration, Defendants
          Administered Wisconsin’s 2020 Presidential Election as Directed by the
          Wisconsin Legislature.

       Plaintiff’s claims would fail even if the Court were to read the word “Manner” in Article
II, Section 1, Clause 2 to encompass more than just the “mode” of appointment.             Including
material aspects of defendants’ election administration in “Manner” does not give plaintiff a win
for at least two reasons.    First, the record shows defendants acted consistently with, and as
expressly authorized by, the Wisconsin Legislature.    Second, their guidance was not a significant
or material departure from legislative direction.
       Plaintiff’s “Manner” challenges all stem from the WEC’s having issued guidance
concerning indefinitely confined voters, the use of absentee ballot drop boxes, and corrections to
witness addresses on absentee ballots.       (Compl., ECF No. 1.)        Plaintiff expresses strong
disagreement with the WEC’s interpretations of Wisconsin’s election statutes, accusing the WEC
of “deviat[ing] from the law” and “substitut[ing] their ‘wisdom’ for the laws passed by the State
Legislature and signed by the Governor.” (Pl. Br., ECF No. 109.) While plaintiff’s statutory
construction arguments are not frivolous, when they are cleared of their rhetoric, they consist of
little more than ordinary disputes over statutory construction.
       These issues are ones the Wisconsin Legislature has expressly entrusted to the WEC.




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Wis. Stat. §5.05(2w) (“The elections commission has the responsibility for the administration of
chs. 5 to 10 and 12.”).       When the legislature created the WEC, it authorized the commission to
issue guidance to help election officials statewide interpret the Wisconsin election statutes and
new binding court decisions.           Wis. Stat. §5.05(5t).       The WEC is also expressly authorized to
issue advisory opinions, Wis. Stat. §5.05(6a), and to “[p]romulgate rules … applicable to all
jurisdictions for the purpose of interpreting or implementing the laws regulating the conduct of
elections or election campaigns.”             Wis. Stat. §5.05(1)(f).         The Wisconsin Legislature also
directed that the WEC would have “responsibility for the administration of … laws relating to
elections and election campaigns.” Wis. Stat. §5.05(1).                 In sum, far from defying the will of the
Wisconsin Legislature in issuing the challenged guidance, the WEC was in fact acting pursuant to
the legislature’s express directives.
         If “Manner” in the Electors Clause is read to includes legislative enactments concerning
election administration, the term necessarily also encompasses the Wisconsin Legislature’s
statutory choice to empower the WEC to perform the very roles that plaintiff now condemns.
Thus, the guidance that plaintiff claims constitutes an unconstitutional deviation from the
Wisconsin Legislature’s direction, is, to the contrary, the direct consequence of legislature’s
express command.           And, defendants have acted consistent with the “Manner” of election
administration prescribed by the legislature.
          Plaintiff points to language in Chief Justice Rehnquist’s concurring opinion in Bush v.
Gore, stating that “[a] significant departure from the legislative scheme for appointing Presidential
electors presents a federal constitutional question.”               Bush v. Gore, 531 U.S. 98, 113 (2000)
(Rehnquist, C.J., concurring).         But the record does not show any significant departure from the
legislative scheme during Wisconsin’s 2020 Presidential election.                    At best, plaintiff has raised
disputed issues of statutory construction on three aspects of election administration.10                        While
plaintiff’s disputes are not frivolous, the Court finds these issues do not remotely rise to the level
of a material or significant departure from Wisconsin Legislature’s plan for choosing Presidential
Electors.


10
   Even these three statutory construction issues were raised only after-the-fact. If these issues were as significant
as plaintiff claims, he has only himself to blame for not raising them before the election. Plaintiff’s delay likely
implicates the equitable doctrine of laches. The Court does not need to reach that issue, however, and therefore
makes no findings or holdings on laches.




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       Because plaintiff has failed to show a clear departure from the Wisconsin Legislature’s
directives, his complaint must be dismissed.    As Chief Justice Rehnquist stated, “in a Presidential
election the clearly expressed intent of the legislature must prevail.”   Bush v. Gore, 531 U.S. 98,
120 (2000) (Rehnquist, C.J., concurring).       That is what occurred here.      There has been no
violation of the Constitution.

                                          CONCLUSION

       Plaintiff’s Electors Clause claims fail as a matter of law and fact.   The record establishes
that Wisconsin’s selection of its 2020 Presidential Electors was conducted in the very manner
established by the Wisconsin Legislature, “[b]y general ballot at the general election.” Wis. Stat.
§8.25(1).   Plaintiff’s complaints about defendants’ administration of the election go to the
implementation of the Wisconsin Legislature’s chosen manner of appointing Presidential Electors,
not to the manner itself.     Moreover, even if “Manner” were stretched to include plaintiff’s
implementation objections, plaintiff has not shown a significant departure from the Wisconsin
Legislature’s chosen election scheme.
       This is an extraordinary case.      A sitting president who did not prevail in his bid for
reelection has asked for federal court help in setting aside the popular vote based on disputed issues
of election administration, issues he plainly could have raised before the vote occurred. This
Court has allowed plaintiff the chance to make his case and he has lost on the merits.     In his reply
brief, plaintiff “asks that the Rule of Law be followed.”   (Pl. Br., ECF No. 109.)      It has been.




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IT IS HEREBY ORDERED:

  1. Plaintiff’s complaint, ECF No. 1, is DISMISSED WITH PREJUDICE.
  2. Plaintiff’s motion for preliminary injunction, ECF No. 6, is DENIED as moot.
  3. Defendants’ motions to dismiss, ECF No. 69, 71, 78, 84, 86, 96, 97, and 99, are
     GRANTED.

  4. Defendant Governor Evers’ oral motion for judgment under Fed. R. Civ. P. 52 is
     GRANTED.

  Dated at Milwaukee, Wisconsin on December 12, 2020.

                                                                s/ Brett H. Ludwig
                                                                BRETT H. LUDWIG
                                                                United States District Judge




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                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN


DONALD J TRUMP,
                    Plaintiff,
                                                        JUDGMENT IN A CIVIL CASE
       v.
                                                             Case No. 20-cv-1785-bhl
THE WISCONSIN ELECTIONS
COMMISSION, COMMISSIONER ANN S
JACOBS, MARK L THOMSEN,
COMMISSIONER MARGE BOSTELMANN,
COMMISSIONER DEAN KNUDSON,
ROBERT F SPINDELL, JR, GEORGE L
CHRISTENSON, JULIETTA HENRY,
CLAIRE WOODALL-VOGG, MAYOR TOM
BARRETT, JIM OWCZARSKI, MAYOR
SATYA RHODES-CONWAY, MARIBETH
WITZEL-BEHL, MAYOR CORY MASON,
TARA COOLIDGE, MAYOR JOHN
ANTARAMIAN, MATT KRAUTER, ERIC
GENRICH, KRIS TESKE, DOUGLAS J LA
FOLLETTE, TONY EVERS, SCOTT
MCDONELL,
              Defendants,

WISCONSIN STATE CONFERENCE
NAACP, DOROTHY HARRELL, WENDELL
J HARRIS, SR, EARNESTINE MOSS,
DEMOCRATIC NATIONAL COMMITTEE,
                Intervenor Defendants.


☒ Decision by Court. This case came before the court, the court has decided the issues, and
the court has rendered a decision.

PURSUANT TO THE COURT’S ORDER, the action is DISMISSED WITH PREJUDICE and
the plaintiff shall recover nothing on the complaint.

                                                               GINA M. COLLETTI
                                                                  Clerk of Court
    Dated: December 12, 2020
                                                               s/ Melissa P.
                                                               (By) Deputy Clerk

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